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 UNITED STATES DISTRICT COURT
 DISTRICT OF NEW JERSEY
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 CC FORD GROUP WEST, LLC,              :
                                       :
                       Plaintiff,      : Civil Action No. 3:22-cv-04143
                   v.                  :
                                       :       SECOND AMENDED AND
 JENNIFER JOHNSON, CARRIE BICKING,     :   SUPPLEMENTAL COMPLAINT
 BETH WEILER, PROJECT VELOCITY, INC.,  :         AND JURY DEMAND
 PROJECT VELOCITY PARTNERS, LLC,       :               (Proposed)
 MEREDITH MANNING, PHARMAESSENTIA      :
 USA CORP., MATTHEW ORNELAS-KUH, , and :
 JOHN DOES 1-10

                      Defendants.
 ------------------------------------ x

 Plaintiff CC Ford Group West, LLC (“CCFW,” “Plaintiff” or the “Company”), by way of

 Second Amended and Supplemental Complaint against Defendants Jennifer Johnson (“Johnson”),

 Carrie Bicking (“Bicking”), Beth Weiler (“Weiler”), Project Velocity, Inc. (“PVI”), Project

 Velocity Partners LLC (“PVP”), Meredith Manning (“Manning”), PharmaEssentia USA

 Corporation (“PEC”), Matthew Ornelas-Kuh (“Ornelas-Kuh”), and John Does 1-101

 (collectively, the “Defendants”), alleges and says:




 1
   Defendants John Does 1-10 are individuals and/or companies, the identities of which currently
 are unknown, that, among other things, conspired with Defendants to steal and/or misappropriate
 Plaintiff’s trade secrets and/or confidential and proprietary information, are members of an
 association-in-fact Enterprise (defined below), knowingly conducted the affairs of or knowingly
 participated, directly or indirectly, in the conduct of the Enterprise’s affairs through a pattern of
 racketeering activities, conspired to engage in a pattern of racketeering activities, aided and abetted
 said activities, tortiously interfered with Plaintiff’s contractual relationships and/or prospective
 economic advantage with its clients and/or vendors, breached duties of undivided loyalty to
 Plaintiff and/or unfairly competed with it.



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                                           INTRODUCTION

          1.        CC Ford directors and staff reported over time that Johnson, a managing director

 and employee of CCFW, a subsidiary of CC Ford established in 2013, had become a mean and

 disgruntled employee and angry with CCFW’s owner John Studdiford (“Studdiford”) and his wife

 Cathleen Studdiford (“Cathleen”) (together, the “Studdifords”) although, at that time, the

 Studdifords were unaware that Johnson harbored ill will toward them and CCFW.

          2.        CCFW and Studdiford recently discovered that, as early as February 2020, Johnson

 was conspiring with CCFW’s V.P. of Client Services, Ornelas-Kuh, to form a company specifically

 to enable them to secretly transfer work being done by CCFW for one of its large and important

 pharmaceutical clients to their upstart business. It was also recently discovered that a few months

 earlier, in September 2019, Ornelas-Kuh and Johnson, as part of their conspiratorial plot, had

 begun stealing confidential and proprietary documents from pharmaceutical companies and

 CCFW to use in their proposed new enterprise.

          3.        This appears to be the beginning of the conspiracy to harm CCFW and the

 Studdifords and open a new business that would illegally enjoy the fruits of Studdiford’s and

 CCFW’s hard work and financial commitment over the many years it took to build a successful

 pharmaceutical communications firm, something that Johnson and Ornelas-Kuh were going to

 great extremes to avoid. Stealing the business and confidential information from CCFW was the

 only way Johnson and Ornelas-Kuh could ensure their own success and profit immediately from

 their illegal and nefarious actions.




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          4.        Despite their deceit and planning to steal business and confidential information, to

 CCFW’s knowledge this new entity did not get off the ground at that time. However, when

 Johnson learned in September 2021 that the owners of CC Ford Group (“CC Ford”) sold an

 independent, unrelated entity for a significant sum and knowing that she was merely an employee

 of CC Ford’s wholly owned subsidiary CCFW--albeit a highly compensated one despite her limited

 contributions to running the business--Johnson became even more jealous, angry and, vindictive.

 This fueled her fire to more quickly implement her direct theft of CCFW clients and property and

 initiate her get rich quick scheme at the expense of the Studdifords and CCFW.

          5.        Around that time, if not sooner, Johnson covertly discussed her desire to wrest

 control of CCFW from Studdiford with her close personal friend and business colleague,

 Manning, who was General Manager of PEC at the time and through May 2022, and who

 subsequently was named President of the Americas at PEC until she was abruptly fired in or about

 November 2023 (along with almost a dozen other employees when PEC “cleaned house”). The

 timing of the firing clearly aligns with PEC’s acknowledgement of this lawsuit and understanding

 of Manning’s and others’ involvement in illicit activities described herein.

          6.        After failing to underhandedly steal CCFW from Studdiford, in January of 2022,

 Johnson next plotted to appear as if she was actively trying to purchase CCFW from Studdiford.

 Although CCFW’s owner would have considered selling the Company to Johnson for a reasonable

 price, Johnson could not have purchased the Company because she lacked the ability to obtain

 financing. In reality, her ruse to try to purchase the Company was only a method for her to further

 align her co-conspirators and bluff Studdiford while she prepped for her theft of the Company’s

 clients, confidential and proprietary information, work product and trade secrets (“collectively,




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 CCFW’s “Confidential Information”), and key vendor relationships, to advance Johnson’s own

 start-up company, PVI.

          7.        Once Johnson admitted that she could not afford to purchase the Company, she and

 Manning, and likely others, followed through on their plan whereby Manning would use her

 unbridled power at PEC to drive business managed by CCFW to Johnson’s new start-up agency

 PVI, that PVI would use CCFW’s Confidential Information that Defendants stole, and through

 which Johnson, Bicking and Weiler would do the work and be paid for it by PVI despite them still

 being on CCFW’s payroll, while actively covering up their devious scheme and actions from

 CCFW. All the while, Johnson, Bicking and Weiler were working for CCFW and under loyalty,

 consulting and/or confidentiality agreements and obligations with CCFW.

          8.        Given Manning’s position of ultimate decisionmaker with evidently rampant,

 uncontrolled and unchecked budgeting authority for PEC as its General Manager and later

 President, Manning plotted to use her power at PEC to effectively manipulate her employees and

 vast sums of budget dollars so that she could drive millions of dollars of PEC work previously

 committed and/or worked on by CCFW, directly to PVI for Johnson’s and apparently her own and

 likely PEC’s financial benefit, while simultaneously destroying CCFW.

          9.        Upon information and belief, Janice Crum (“Crum”), an attorney with

 compliance/regulatory expertise in the pharmaceutical industry and a trusted paid advisor at PEC,

 as well as a close friend and colleague of Johnson and Manning, participated in this conspiracy

 and pattern of racketeering and otherwise tortious activity, and/or aided and abetted their pattern

 of racketeering and tortious activity, and provided legal and regulatory guidance to Manning/PEC,

 Johnson/PVI and others to support their theft.




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          10.       The conspiracy and pattern of racketeering activity were well-planned both in

 timing and funding opportunities, because PEC’s first FDA approved drug, BESREMi, a

 prescription medicine that is used by adults with polycythemia vera, a rare and chronic blood

 cancer, had just been approved by the FDA in November 2021, and tens of millions of dollars

 likely would be spent by PEC in the near term on its marketing and promotion. As a result,

 Defendants knew that their plot would rake in millions of dollars and produce staggering profits

 and financial windfall for them. PEC paid PVI close to $5 million, if not more, in just the first

 year, March 2022 – March 2023, and likely paid it close to $10 million prior to PVI being fired by

 PEC along with Manning and other PEC senior executives.

          11.       Samuel Lin (“Lin”), PEC’s Vice President of Business Operations and Strategies,

 and the son of PEC’s founder and Chief Executive Officer Ko-Chung Lin (“K.C. Lin”), as well as

 others in PEC including its former General Counsel Sulin Shah (“Shah”), who also was abruptly

 fired in or about November 2023, should have acted as checks on Manning’s unrestrained power

 but either knowingly and willingly participated in or acquiesced to Manning’s drive to subvert

 ethical business practices. At the very least, to the extent they were not fully aware, they were

 grossly negligent in the performance of their job duties as senior managing executives at PEC.

          12.       Manning’s and PEC’s poisonous and deliberate actions delivered the plan, free-

 ranging and unchecked opportunity, as well as virtually unlimited funding for Johnson, Bicking

 and Weiler to leave CCFW, steal CCFW’s Confidential Information, and for Johnson and likely

 others to create a shell company in PVI that would then receive millions in PEC payments for work

 that was supposed to be performed (and in part was actually performed) by CCFW. Essentially

 Johnson, a single person, had immediate access to PEC monies to fund her or Defendant(s)’ start-

 up illicit enterprise.




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          13.       Manning, as part of senior leadership at PEC, was the lynchpin of this plan and

 knew that her intentional and malicious conduct, with PEC’s participation, would have significant

 repercussions for CCFW yet she obviously directed (apparently with Crum’s significant

 assistance) Johnson, Bicking and/or Weiler, and the others described below, concerning steps they

 should take as part of this conspiracy, including their theft of CCFW Confidential Information

 before Johnson, Bicking and Weiler left the Company.

          14.       This was standard operating procedure for Manning as she herself has stolen highly

 confidential information from previous employers, including Pfizer, Shire, and Vertex, and has

 shared lengthy and detailed internal corporate strategy documents with Johnson, to actively coopt

 the information for the explicit benefit of PEC, subsidize Manning’s lack of knowledge and

 leadership, and advance the launch and profitability of BESREMi for PEC and its shareholders

 despite those documents clearly having been paid for by other leading drug companies and marked

 confidential and proprietary and/or for internal use only.

          15.       Manning used corporate espionage to advance her own career and allowed PEC

 and PEC shareholders to profit while trespassing on competitors’ property by accessing their

 confidential and proprietary information relating to previous drug launch data and marketing

 secrets without permission or payment. The valuable competitive information utilized by Manning

 and PEC gave PEC and BESREMi a distinct competitive advantage due to the free access of

 confidential and proprietary information that was previously paid for and owned by other large

 pharmaceutical companies.

          16.       Similarly, the use of this purloined information, the Confidential Information stolen

 from CCFW by Johnson and other Defendants enabled PVI and/or the other Defendants to illegally

 and unfairly compete with CCFW and otherwise profit at CCFW’s great expense.




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          17.       Additionally, due to the close personal relationship between Johnson and Manning,

 Manning knew that PVI at the outset had no other employees or secure offices, and Johnson alone

 worked solely out of her home. PVI utilized a “rent a desk” address at a type of location typically

 shared by a large volume of transient workers employed by various companies and not a secure

 location for pharmaceutical confidential and proprietary information, lacking any infrastructure,

 fire walls or secure systems, yet Manning acted with reckless disregard of PEC’s corporate

 responsibilities by leading this plot and encouraging her close friend Johnson and the other

 participants/co-conspirators. This included permitting her buddy Johnson, and PVI, to egregiously

 overcharge PEC substantially more in fees, at times double if not more, than what CCFW charged

 for the same or substantially similar services.

          18.       Given the complete lack of any effective control system at PEC as is required by

 the government and universally implemented at pharmaceutical companies, combined with her

 unchecked ego and power at PEC, Manning concocted a devious scheme with PEC, Johnson, PVI,

 Bicking, Weiler and others to purposely ignore and violate CCFW confidentiality and other

 agreements with its employees, and permit Johnson to set up a nascent one-person entity (PVI) in

 an attempt to destroy what Manning gratuitously referred to as her “favorite vendor CCFW,” all

 while enriching        Defendants, tortiously interfering with CCFW’s contracts and business

 relationships, stealing CCFW Confidential Information and covering up their actions from CCFW.

          19.       Specifically, Defendants’ fraudulent scheme was for PVI, Johnson, Bicking and

 Weiler to perform the work as if Johnson, Bicking and Weiler were acting in their roles at CCFW,

 trading off CCFW’s good name, stellar reputation in the industry, strong balance sheet and large

 network of suppliers and experts, and for Manning to pressure various PEC employees to send

 additional PEC work to them at CCFW, all the while giving those PEC employees the mistaken




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 impression that the work would be performed by PEC’s long-time and preferred partner CCFW.

 Their ultimate plan was to actively rip the work from CCFW and deliver it directly to the shell

 company PVI, which they subsequently accomplished.

          20.       As part of the scheme, Manning/PEC, Johnson and others were conspiring and

 planning for Johnson’s cronies, Bicking and Weiler, to continue to perform PEC work

 surreptitiously while at CCFW and while still on its payroll but for the benefit of PVI, in breach

 of their duties of loyalty, and for Manning/PEC to thereafter terminate PEC’s relationship with

 CCFW (and not pay it for its services rendered), and only thereafter would Bicking and Weiler

 perform work on PVI’s dime once they considered it “safe” to have PVI come out of the shadows

 and operate in the open. Upon Bicking’s and Weiler’s departure in May 2022, Defendants then

 aggressively implemented their plan to take millions of dollars of guaranteed CCFW work, while

 Johnson, Bicking and Weiler were breaching their various agreements and obligations and stealing

 CCFW’s Confidential Information, all for their personal financial gain.

          21.       PVI desperately needed guaranteed work from Manning and PEC, in addition to

 the other CCFW clients it stole, because PVI was an unproven entity with no secure office, no

 legitimate employees who were not engaged in the fraud, and extremely limited start-up funding.

 Upon information and belief, PVI was started as a sham company into which PEC could deposit

 funds for Johnson, Bicking and Weiler (in the form of payments for CCFW work that was remitted

 to PVI), even before they left CCFW. The PEC business promised by Manning to PVI was a

 blatant violation of her fiduciary and other duties to PEC and was the only reason Defendants were

 able to steal CCFW’s business with PEC while working for CCFW and begin funneling revenue

 directly to PVI to get it off to a flying start.




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          22.       Moreover, Manning and PEC were fully aware of the duties, restrictive covenants

 and confidentiality agreements the other individual Defendants had with CCFW that precluded

 them from taking Confidential Information, and from competing with CCFW for business, but

 they still actively pursued the plan to extract active PEC business from CCFW and deliver it to

 PVI, for the benefit of Defendants.

          23.       Likewise, Johnson, PVI and others were fully aware of similar duties, agreements

 and obligations that Ornelas-Kuh had with CCFW, yet even after Johnson and PVI were sued in

 this litigation, they still had the audacity to have PVI hire Ornelas-Kuh as a Managing Director.

 To hide Johnson’s malicious and tortious interference with CCFW’s non-competition and

 confidentiality agreements with Ornelas-Kuh, and his own violations of same, Johnson and

 Ornelas-Kuh set up a shadow company, PVP, registered in Delaware on or about July 25, 2023, to

 hide Ornelas-Kuh’s work with Johnson and PVI and their joint efforts to lure CCFW clients to

 PVI. To further hide these violations Ornelas-Kuh uses a shadow PVI email address in his work

 for PVI and PVP; mornelas-Kuh@projectvelocitypartners.com. And an online search of “Project

 Velocity Partners” takes a user to PVI’s website, further confirming that PVP is connected to PVI.

          24.       Johnson’s claim that she funded PVI with $70,000 in capital contributions is telling,

 as this limited amount is grossly under even the minimum required to initiate any legitimate start-

 up to gain the necessary office space, hire legitimate employees not engaged in the tortious plot,

 acquire clients, and fund legal and accounting experts, as well as myriad other costs. In reality,

 Defendants’ scheme ensured Johnson would not need any funding to initiate her theft via PVI.

 PEC and Manning made sure Johnson and PVI were funded, as they immediately signed contracts

 and delivered payment to her while she was still a highly paid CCFW consultant and Bicking and

 Weiler were highly paid CCFW employees.




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         25.       Finally, to actively cover Defendants’ tracks, PEC and Manning authorized, and

Defendants schemed for, Johnson, Bicking and Weiler to use PEC email addresses to hide their

illicit activities and issued PVI Statements of Work (“SOWs”), which likely did not go through

the normal regulatory, legal and financial channels typically required at a pharmaceutical company,

so that PVI could bill PEC for the work performed by Johnson, Bicking and Weiler while still

employed by CCFW and thereafter.

         26.       Defendants believed their illegal, self-serving and vindictive plot of egregious theft

and illicit financial gains was airtight; that they could pull it off without CCFW and its owner

Studdiford ever suspecting what they were doing, but they were wrong. Defendants’ devious plans,

actions and cover-up were so egregious and flawed that Studdiford and other CCFW employees

eventually uncovered their tortious and criminal activities.

         27.       Despite Defendants’ expansive actions to hide their ruthless and criminal

conspiracy, like most cover-ups, evidence eventually came to light that exposed their nefarious

conduct and confirmed how far Defendants were willing to go to hide their pattern of racketeering

activities.    While it is obvious Bicking, Weiler, Johnson and PVI, and later Ornelas-Kuh,

individually and/or through PVP, a recently discovered entity set up to hide his involvement, were

profiteers of this elaborate scheme, an unanswered question is precisely what was in it financially

for Manning and PEC? That will be learned by CCFW in discovery.

         28.       In a desperate attempt to fend off CCFW’s claims, set forth herein, and divert

attention from them, Johnson asserted counterclaims against Studdiford, suggesting, without any

basis, that he had agreed to make her a partner in CCFW and that she, in fact, has been a partner

for years yet she never paid a penny for any ownership interest. Johnson knows, however, that her

claim to ownership is utterly false and frivolous and exposes her to significant sanctions in this




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litigation. Not only has she conceded that CCFW’s parent, CC Ford, was her “employer” of twenty

(20) years, she also admitted that she had no agreement with Studdiford, who she referred to as

“this fucking asshole of an owner.”



                                  FACTUAL BACKGROUND

                       Manning Has a Close Personal Relationship with Johnson
                               and a Close Relationship with Bicking

         29.       CC Ford and Studdiford had an 18-year business relationship with Manning dating

back to 2005 when Manning worked for Pfizer.

         30.       Subsequently, Manning met Johnson years ago through Johnson’s employment at

CC Ford, due to CC Ford’s and Studdiford’s long history with Pfizer and relationship with

Manning.

         31.       Johnson regularly seemed to have issues in her life, and the Studdifords felt sorry

for her circumstances to such an extent that CC Ford, and later CCFW, overpaid her for her

contributions to the business. In fact, Johnson spent all her career at CC Ford and CCFW working

from her home in Brewster, New York, would rarely come to the Company offices in Bernardsville,

New Jersey (despite the trip being less than 100 miles), and never took any initiative to learn the

complexities of running the business or its finances. Instead, Johnson focused on client services

and sustaining existing business but did not significantly grow it. Studdiford and other senior

executives managed all the executive, financial, legal, regulatory and administrative aspects of the

business.

         32.       Nevertheless, in or about 2013 or early 2014, Johnson was made a Managing

Director of CCFW. She remained in that role as an employee until the first quarter of 2022, at




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which time she became a consultant to CCFW. Notably, Johnson understood and acknowledged

that, throughout her employment with CCFW, she had no ownership interest in it.

         33.       Over the course of her employment at CC Ford and CCFW, there were multiple

times when Studdiford and a previous COO wanted to terminate Johnson for inappropriate

behavior and inappropriate personal relationships, most egregiously with CCFW vendors, for lack

of performance, and for creating a poor work environment but CCFW ultimately decided it would

be better to try and coach/educate Johnson as well as find an appropriate client she could service

considering she would often disappear for days on end with no communication with anyone at

CCFW as she often flew off to Europe, Florida and other locations for her own personal endeavors.

This was the nature of the Studdiford/Johnson relationship and how CC Ford and CCFW were

always run as family-first companies. The Studdifords believed Johnson was a friend and loyal

employee, and they actively helped try to teach her the pharmaceutical agency business and coach

her to succeed, while supporting her and her family.

         34.       As Manning continued to be a friend of the Studdifords and a loyal client (most

recently through PEC) to CCFW, Manning’s and Johnson’s relationship became a close, personal

one that, as discussed in more detail below, in the past few years pervaded and corrupted their

business judgment to the substantial detriment of CCFW and provided unfair advantages to PEC.

         35.       Johnson’s relationship with Manning is so close that Johnson blatantly lied in a

certification filed in this litigation to protect Manning and herself, certifying that their relationship

was “only professional.” This action by Johnson exhibits her compulsion to lie for financial gain

and her belief that she is above the law. It also demonstrates the deep level of deceit to which

Defendants are willing to sink to hide their nefarious activities.




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         36.       Manning and Johnson have been extremely close for a long time and extensively

vacation together.

         37.       In July 2021, for example, Manning and Johnson traveled with a group of friends,

including Manning’s brother Geoff Manning (also a PEC employee), to Cabo San Lucas, Mexico,

and stayed at a private resort where Manning is, or at the time was, a member of its golf club and

where Johnson has or had a time-share.

         38.       Manning appears to have used her personal Gmail account for her business

communications and, at least at times, appears to have done so to shield PEC legal, compliance

and other employees from knowing about her relationship and activities with Johnson and PVI, as

well as her theft of competitive materials from previous employers. Johnson often used her CCFW

email address to plan these personal trips and to share golf schedules, shopping lists, restaurant

reservations and travel plans with Manning.

         39.       In September 2021, Johnson and Manning were planning another golf trip for

December 2021. At that time, Johnson sent an email to Manning’s personal Gmail address

forwarding a quote from an oceanfront resort in South Carolina for accommodations for four

people. Manning and Johnson had not yet decided who else would join them, but the email

confirmed they would “find two other nut jobs and lock this in!”

         40.       They ultimately chose Kiawah Island in South Carolina for the December 2021 golf

trip (the “Kiawah Island Trip”), and they were joined by Crum. Just three days after the Kiawah

Island Trip, on December 20, 2021, Johnson emailed Manning and Crum regarding plans for

another golf outing in March 2022 at Rancho Bernardo, San Diego and wrote that she was “looking

into a Kiawah reboot! (       ) Will get that calendared as well post-ASH [a pharma convention]. SO

MUCH FUN! JJ,” to which Manning replied “1000000%. I have missed you two.”




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         41.       Manning also has a close, personal relationship with Bicking, with whom she has

worked for many years. Bicking worked with Manning as Senior Executive Assistant at Shire

between 2015 and 2017. Later, when CCFW was working with Manning while she was employed

by resTORbio, Manning conspired with Johnson to pressure CCFW to hire Bicking even though

Bicking lacked relevant experience.

         42.       Manning’s relationships with Johnson and Bicking are so close that she, and

therefore PEC, knew they had various agreements with CCFW that precluded them from

competing with it and from misappropriating its confidential and proprietary business information

and trade secrets.

         43.       After this lawsuit was filed, CCFW sent Manning and PEC litigation hold letters

and a copy of the First Amended Complaint on September 22, 2022, to avoid any argument that

they were unaware of the contractual restrictions on Johnson, Bicking and Weiler. In the end, it

did not matter to them because PEC and Manning did business with them anyway. Furthermore,

the bullying nature of PEC was harshly displayed to CCFW when PEC’s outside counsel, upon

seeing the details of the proposed Second Amended Complaint on or about July 27, 2023, seethed,

stating “Your client (Studdiford) will be sorry, we will bury him!”

                   Manning and Johnson Conspire Against CCFW

         44.       In September 2021, CC Ford sold an independent, unrelated entity for a significant

sum and this caused Johnson to become extremely jealous of and more angry at the Studdifords.

Johnson knew, however, that she was just an employee and became highly vindictive. At the time,

the Studdifords did not know Johnson harbored this anger and ill-will toward them and only

learned this much later from CCFW employees.




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         45.       Rather than act like a leader and Managing Director to develop a plan to improve

the profitability of CCFW and discuss opportunities for a similar sale with Studdiford, Johnson

and Manning crafted, implemented and attempted to cover up the plot, with the other Defendants,

to steal CCFW business for Defendants’ financial gain, all in direct contravention of their CCFW

agreements and obligations, as well as to Johnson’s legal responsibilities to CCFW as its Managing

Director.

         46.       In or about mid-October 2021, Johnson sent Manning CCFW’s budget estimates

for the work CCFW would be performing for PEC in 2022. The estimates were large as were the

fees to be earned by CCFW. Although this amount was a conservative budget estimate, it was

significant enough to spur Manning and Johnson into thinking about how to keep that business for

themselves and/or the other Defendants. At that time, Johnson emailed Manning stating “[w]e

don’t want to miss the boat!” evidently referring to the two of them and PEC. More importantly,

with the pending potential approval of BESREMi during late 2021, Manning and Johnson knew

that the flood gates of PEC cash would open, and they could fraudulently secure huge budgets for

PVI due to the PEC launch of BESREMi – a standard pharmaceutical marketing approach of

providing a high level of funding for marketing, sales and educational activities to improve drug

launch awareness and success. Thus, the conspiracy to steal CCFW’s business through a pattern

of racketeering activity and tortious misconduct clearly was underway by the Fall of 2021 but

likely started a year or two earlier.

         47.       Upon information and belief, this was a hot topic of discussion between Manning,

Johnson and Crum when they were all on the Kiawah Island Trip in December 2021.

         48.       Just weeks before the Kiawah Island Trip, Johnson emailed Manning that she was

looking forward to their down-time and discussing work “WHILE we are golfing, spaiing [sic],




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relaxing, friending and drinking…” It is obvious that at this point their close, personal relationship

was now focused on how to enrich themselves, but unfortunately their lack of ingenuity and

entrepreneurship led them to a plan of theft and deception rather than setting up their own honest,

above-board business venture. That would be too difficult; instead, it was easier to deceive and

steal from CCFW for their own financial gain.

         49.       When on the Kiawah Island Trip, Manning and Johnson and presumably Crum sat

at a meal and conspired on a plan, approach and communication strategy/points for Johnson to

demand that she be given total control of CCFW from CC Ford, the owner of CCFW, and

Studdiford. This fact was discovered only after Johnson left CCFW, on an audio file on CCFW’s

computer. Upon information and belief, Crum, an attorney and employee and/or consultant at PEC

in 2021, who ironically had been responsible for preparing any compliance policies and procedures

at PEC, was the one giving this “advice” and encouragement to Johnson on the recorded audio

file.

         50.       This audio file titled “Sanctuary_Beach_Dr. m4a” was sent directly from

Manning’s PEC email account to Johnson on Friday, December 17, 2021, with the Subject heading:

“Janis [Crum’s first name] amazing.”

         51.       This active participation and direction from Manning and Crum, both of whom

were paid PEC executives, to advance Johnson’s and PVI’s theft of CCFW business, assets and

Confidential Information clearly show the tight relationship of all three and their participation in

the unlawful scheme. Moreover, Crum would have been encouraging and facilitating the violation

of routine, established compliance policies that should have existed at PEC, ones Crum may or

should have drafted or overseen at PEC.




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         52.       Aware that she and PEC were the critical participants in their scheme, Manning,

with Crum’s participation and assistance, created a script for Johnson to use when communicating

with Studdiford to allege that the CCFW business was somehow hers even though Johnson,

Manning and Crum knew that was not the case.

         53.       Crum and/or Manning also instructed Johnson to tell Studdiford that he should do

what was in the best interests of CCFW’s clients, contemplating Johnson would be able to wrest

control of CCFW from Studdiford for her own, and possibly Manning’s and Crum’s gains.

         54.       As memorialized on the audio file, Crum or Manning’s conversation with Johnson

went as follows:


                Crum/Manning: It’s been an amazing ride; no, I think you start out
                with, you know what these two years have been like for me, both
                personally but also professionally.

                Johnson: Right.

                Crum/Manning: I’ve grown this business from A to B over the past
                twenty years that we’ve been working together.

                I was really excited when you made me the offer …offered to start this
                company for me. I took the reins and I ran with it.

                Johnson: Nice.

                Crum/Manning: And so I’m so appreciative of you know, all the
                confidence you put in me, and I’m proud of what I’ve done here. But I
                think it’s time, if you look at what’s really happening here. I’m bringing
                in all the business and I’m working all the business. Essentially John,
                this is my business now.

                Johnson: Right.

                Crum/Manning: What is most important to me now, is that we do what
                is right by our clients, and we do what is right by ourselves. And I feel
                like I deserve to have the full stake of the current set of business. So, I
                want to leave you in a good place, and I want to leave myself in a good




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                place. But most importantly for our reputation, we want our clients to
                be in a good place as well.

                So, here’s my offer to you. Blah blah blah blah blah. I’m going to give
                you five days to think about it. And I, you know, I want to keep this
                conversation open. But I’m not going to wait another 30 days, I’m not
                going to wait another 90 days, I’m not going to wait another two years.
                Like, we need to make this change now.

                Johnson: Mmhhhh.

                Ha Ha Ha. [all laughing.]

         55.       Crum or Manning’s recitations, quoted above, of Johnson’s work for CCFW reflect

nothing more than Johnson’s exact job responsibilities at CCFW, as Johnson herself has admitted,

for which she was paid $550,000 per year; that is, “bringing in business,” and “working the

business.”

         56.       Johnson was an overcompensated Managing Director with a demeanor that often

pitted employees against each other, played favorites, and was unable to effectively grow the

business during her employment with CCFW.

         57.       CCFW was (and remains) a highly diversified business with numerous clients and

industry veterans who ran the business with no input from Johnson. In fact, Johnson was so out

of touch with the majority of CCFW clients, that account directors preferred to have her stay away

from the business given her hostile approach to client relationships and questionable behaviors

and attitudes. As a result, Johnson focused virtually all of her time on her relationship with and

work for PEC, including the subsequent plot to conspire to and actually steal CCFW business for

her own and the other Defendants’ gains.

         58.       Despite Johnson’s proclamations of her leadership and success, her tenure as

Managing Director of CCFW was, overall, a failure. While the rest of the industry was booming

and other agencies were expanding and growing in profitability, Johnson lost nearly 50% of




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CCFW’s gross revenue between 2015 to 2021, and she never grew overall profitability during her

tenure. As just one example, in September 2021 Johnson admitted to Bicking that she had made

a poor business decision that cost the Company $400,000 to $600,000 in revenue by not staffing

for medical writers because she was too afraid to make that decision. In contrast, Studdiford’s

other business grew exponentially over this same period and culminated in a highly profitable sale

to an industry-leading strategic partner.

         59.       Moreover, while Defendants were secretly collaborating on their strategy, Johnson

had the gall to charge or expense Manning’s accommodations, food, drinks, incidentals, clothing,

and gift shop purchases for the December 2021 Kiawah Island Trip as a business expense on

Johnson’s CCFW American Express card, all of which were reimbursed by CCFW / Studdiford.

         60.       With their tortious scheme quickly advancing, on December 29, 2021, Johnson

sent Manning an email to her personal Gmail account with the subject line “Review,” containing

draft language of an email to be sent to Studdiford demanding her sole ownership of CCFW. This

was phase one of their conspiratorial plan to wrest control of CCFW from Studdiford.

         61.       Much of Johnson’s draft email was lifted verbatim from the language Crum and/or

Manning had scripted for Johnson as heard in the audio file, and in it Johnson, in essence, admits

that no partnership ever existed with Studdiford – thereby conceding that her Counterclaim in this

litigation is frivolous and made up in a feeble attempt to obtain some leverage in this lawsuit.

         62.       In preparation for Johnson sending this legally crafted and PEC-sanctioned

demand, Manning – acting as the leading senior executive at PEC – utilized her PEC email and

PEC Zoom account and sent a PEC Zoom invitation to Johnson and Crum after 11 p.m. on

December 30, 2021, with the title, “LET’S GET THIS SHIT DONE.” This Zoom call was the




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concluding working strategy session where Crum, Manning and Johnson finalized the email

Johnson ultimately sent to Studdiford demanding her control of the Company.

         63.       That Zoom session further highlights the close, personal nature of the relationship

between Manning and Johnson, as well as Manning’s enmeshment in this plan to steal CCFW’s

business and clients. And, just as they planned, on December 31, 2021, Johnson sent that scripted

email to Studdiford and thereafter Defendants set their deceptive campaign into full gear with

Bicking and Weiler on board.

         64.       After receiving Johnson’s email, Studdiford set up a call with Johnson to discuss

her demands and offer her a number of positive alternatives, including a potential sale to her, the

sale to a recent acquirer of an unrelated company, or engagement of his investment banker to

prepare the Company for sale. Realizing Studdiford was not going to just hand over CCFW,

Johnson demanded that her only way forward would be for her to buy the Company, although she

knew that she lacked the means to get this done, yet both CCFW and Johnson moved forward and

allowed their respective lawyers to engage in the next steps.

         65.       When Johnson and Manning realized that Studdiford was not going to just hand

the keys of his Company over to Johnson, and always knowing Johnson would never be able to

raise the funds for purchase (although, again, CCFW / Studdiford would have considered a

purchase offer), Defendants led by Johnson and Manning shifted focus to Johnson starting another

company, PVI, and to Manning diverting PEC’s business away from CCFW to PVI, even as

Johnson, Bicking and Weiler still were working for and being paid by CCFW.

         66.       Johnson desperately needed PEC’s revenues and those from other CCFW clients

to start the PVI enterprise, as she had little to no direct relationship with other clients. Rather than

start up her own business from scratch and invest the time and money to be successful, as the




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Studdifords had done 23 years earlier, Johnson’s only option for an immediate financial windfall

for herself and other Defendants was to steal from CCFW.

                          Defendants Covertly Implement Their Plan

         67.       Evidencing Manning’s active leadership to deceive and hide from CCFW that PEC

was planning to have its projects run under the CCFW banner without paying CCFW for the

services, and with the intention that all the work would be awarded to PVI, on February 16, 2022

(prior to Johnson’s resignation letter to CCFW on February 28, 2022), Manning sent an email to

Johnson, Bicking and Weiler requesting that they restrict access to the PEC files on CCFW’s

SharePoint server to the three of them only, and also instructed them to tell Manning first if anyone

else at CCFW requests access to those files.

         68.       Next, to divert attention away from what Defendants were planning, and to steer

active current business and additional future business to PVI, Manning advocated via email on

Sunday, February 27, 2022, to her executive underlings at PEC, as set forth below, that they

consider using CCFW for their projects. To do so, she not only manipulated CCFW and the PEC

employees involved, but also leveraged her control of PEC finances. Manning’s email was sent

the day before Johnson tendered her resignation to CCFW.

         69.       Knowing that Johnson was going to advise CCFW the next day that she would be

resigning, Manning sent a clear message in her February 27th email to six high-level executives

with decision-making authority at PEC that she wanted them to consider CCFW for their PEC

projects, writing:


                I have worked with many agencies in the past and very few operate [like
                CCFW] at the level [of] excellence I expect for conference planning,
                logistics and execution. Additionally, JJ [Johnson] and her team is [sic]
                fully integrated and know all of the PEC Global and USA team
                members.




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         70.       Manning then “suggested” to her team that they “reach out to CC Ford to see if they

have the capacity” to do additional projects for PEC such as booth design and build, sponsorships

of CME (continuing medical education), abstract and/or poster development, investigator meetings

and advisory boards, allowing it was up to them and their teams to decide. By knowingly and

falsely endorsing and recommending CCFW to others at PEC, specifically CCFW’s work,

employees, history and targeted knowledge and expertise – all the while knowing that payment for

the work would be directly deposited into PVI – PEC and Manning provided incalculable benefit

to PVI, ensuring PVI’s future financial gain, while directly diverting those payments from CCFW.

         71.       As the most powerful senior official at PEC, Manning was fully aware that her

pressured suggestion to drive business for the benefit of Defendants would result in an active shift

of business to PVI and in tremendous growth due to the huge budgets associated with the launch

of BESREMi. Employees typically do not say “no” to the top executive at their company.

         72.       Of course, to shield her nefarious actions and manipulation, Manning deceitfully

did not copy Johnson or anyone else from CCFW on her email, but Johnson nonetheless clearly

received a copy of the email as she had it on her laptop. Inherent in the nature of her executive

position and power at PEC, Manning used her office and function to secretly send to Johnson PEC

employees’ positive confidential responses to highlight the “veiled endorsement of CCFW.” This

knowingly misleading information was critical to their plan and allowed Johnson to witness first-

hand how Manning was successfully encouraging her unwitting PEC team to continue to hire

Johnson, and eventually PVI, to support PEC’s business/sales efforts, under the false pretense of

promoting CCFW. Manning was deceiving her employees and grooming them to use CCFW for

“everything,” while clearly intending all that business would go directly to PVI.




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         73.       As set forth below, ultimately Manning, the leader of the conspiratorial den of

thieves, weaponized Johnson and PVI with nearly $5 million of PEC’s money in its first year,

manipulated PEC employees and CCFW, and enriched Johnson, and likely herself and the other

Defendants.

         74.       Johnson responded to Manning that same day, writing “[t]his makes me happy

(     )! THANK YOU. Thank you.” The plan was taking shape to the delight of Johnson as she

responded to Defendants’ devious plot to set up CCFW with more business and then steal it for

Defendants’ benefit.

         75.       The next day, February 28, 2022, Johnson informed CCFW that she was resigning

and did so with an apparent guaranty from her co-conspirator, Manning, that PEC would send her

its business, and knowing the false representation made by Manning that CCFW would be PEC’s

“go to” agency in the future. Manning’s email to her PEC colleagues/reports was the final nail

needed for Defendants to succeed in ensuring continuing work, and now Johnson could resign, set

up PVI and steal CCFW business as Manning, Johnson and Crum had planned. Johnson’s

negotiated departure date as CCFW’s Managing Director was March 25, 2022, although, as

discussed below, Johnson entered a consulting arrangement with CCFW through July 17, 2022.

         76.       February 28, 2022, was the same day Johnson filed the certificate of incorporation

for PVI offering as little information as possible in the filing so as not to provide evidence of

Defendants’ wrongdoing, company ownership or other critical information that would have

exposed Defendants’ plan while Johnson, Bicking and Weiler still worked for CCFW.

         77.       In addition, while still the highly compensated Managing Director of CCFW,

Johnson was actively soliciting other CCFW employees and/or clients and gathering and

misappropriating all the CCFW Confidential Information she could get her hands on prior to her




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departure from the Company. This included PEC confidential files as well as those of other active

CCFW clients. For example, on or about April 30, 2022, Bicking stole CCFW Confidential

Information relating to multiple CCFW clients, and sent it via her personal email to Johnson at her

personal email address. She also forwarded to Johnson CCFW’s proprietary job descriptions.

         78.       About a month or so earlier, in January 2022, Ornelas-Kuh, then a Vice President

of CCFW, drove to Johnson’s home in New York to support Defendants’ plot to steal CCFW

business and also plot his departure. This was evidenced by gas and toll information from his

Company Amex account.

         79.       On February 25, 2022, Johnson was emailing, from a personal Gmail account, with

Ornelas-Kuh, and received from him a copy of his Duty of Loyalty Agreement, which barred him

from competing with CCFW for one year from whatever date he left the Company. Nevertheless,

on or about February 27, 2022, March 18, 2022 and March 30, 2022, Ornelas-Kuh brazenly sent

CCFW Confidential Information to Johnson while he knew she was leaving, and in or about mid-

June 2022 set up a meeting between them at Johnson’s house in Brewster, New York.

         80.       Ornelas-Kuh gave notice in early 2023 that he would be leaving the Company to

pursue other opportunities.

         81.       At or about the time of Ornelas-Kuh’s resignation notice, the Company performed

an internal audit of Ornelas-Kuh’s pass-through expenses to Janssen, one of CCFW’s most

important clients.       As a result of the audit, CCFW determined that Ornelas-Kuh stole

approximately $85,000 for his personal benefit that he had inappropriately and fraudulently

claimed were business expenses attributable to work on the Janssen account.

         82.       Ornelas-Kuh’s theft consisted of, but were not limited to, using his CCFW

American Express card and coding the charges as pass-through expenses to Janssen project codes




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for: (1) extravagant meals for himself and at times others; (2) throwing himself a birthday party;

(3) personal items; (4) gifts for subordinates; (5) gift cards for personal use; and (6) plane/train

tickets for personal trips.      Specifically, these fraudulent charges submitted as pass-through

expenses to Janssen included:

         a. In June 2022, he charged $1,626.47 to pay for a birthday party he threw for himself at
            Nido’s Backyard, a restaurant in Oakland, CA. He coded the five-page invoice charged
            back to a Janssen project as a pass-through expense, listing on the invoice nine names,
            none of which were associated with the Janssen account. The total was charged by
            Ornelas-Kuh on two separate credit cards.

         b. In November 2022, he booked $1,284.60 for a first-class plane ticket for himself to
            travel from Palm Springs, CA to Philadelphia, PA (with a connecting flight to and from
            Phoenix, AZ), while the travel had no connection to Janssen work.

         c. In December 2022, he charged a $1,225.68 dinner at Barclay Prime in Philadelphia
            fraudulently claiming in expense records that nine Janssen employees attended a
            medical affairs “strategy team” dinner. Instead, only four people, including Ornelas-
            Kuh, attended the dinner, which did not concern Janssen business.

         d. In January 2023, Ornelas-Kuh dined alone at Jean Georges Restaurant at the Four
            Seasons Hotel in Philadelphia, PA. The hotel’s check detail identifies the number of
            guests as one, yet Ornelas-Kuh racked up a $719.34 invoice, with at least $353.10
            attributable to alcohol, which is prohibited from being passed through to the client,
            even if the meal was a legitimate pass-through expense (it was not). He coded the
            invoice and expenditure to a Janssen project account as a “Medical Strategy Team”
            dinner.

         83.       These are but a few examples of what appear to be a standard, criminal pattern of

seeking (and obtaining) reimbursement for purported “Janssen-related expenses” that were not in

any way related to or appropriately reimbursable by or on behalf of Janssen or appropriate or

acceptable CCFW business expenses.

         84.       These fraudulent submissions for reimbursement by Ornelas-Kuh put in jeopardy

CCFW’s strong and long-standing relationship with Janssen, including existing work

commitments and future work. Moreover, it appears that it was Defendants’ intention to financially




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harm CCFW while, at the same time, they were conspiring to wrongfully compete with, and

already were wrongfully competing with, CCFW.

         85.       In or about late April 2023, upon discovering this excessive fraud and before

Ornelas-Kuh had left the Company, CCFW fired Ornelas-Kuh for engaging in this fraudulent

conduct, in advance of his planned date of departure set forth in his resignation letter.

         86.       At or about the same time, CCFW informed Janssen of what occurred and agreed

to, and did, reimburse Janssen for the improper charges. CCFW repaid Janssen in full for the

fraudulent expenses posted by Ornelas-Kuh in the amount of $69,648.40. The remainder of the

fraudulently coded expenses were caught by CCFW before they were billed to Janssen but,

nevertheless, were additional damages to CCFW because they were paid directly by CCFW to

American Express. Ornelas-Kuh has never repaid any of those fraudulent charges.

         87.       Soon after Ornelas-Kuh departed CCFW, Johnson and/or PVI hired him despite

their full knowledge of his non-competition and other obligations to CCFW, including in Ornelas-

Kuh’s his Duty of Loyalty Agreement (that he previously shared with Johnson in February 2022)

and notwithstanding that CCFW had already filed suit against Johnson and PVI, violating her own

non-compete and their other contractual and legal obligations.

         88.       CCFW recently uncovered that Johnson’s collusion with Ornelas-Kuh, in violation

of both their duties of loyalty to CCFW, dates to before February 2020.

         89.       At or about February 2020, there were communications between them wherein

Ornelas-Kuh forwarded to Johnson an exchange he had with Janssen’s vendor management

affiliate, Worksense, where he inquired about the best way to change the name and entity of an

account with minimal business disruption. Significantly, CCFW was not contemplating – and was

certainly not discussing – changing its name or entity in any way. Ornelas-Kuh wrote:




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                Hi Michelle,

                I am hoping you’re the right person to ask for this. CC Ford is potentially
                undergoing a name and entity change. We’ve been growing (yay!), and
                it’s looking like some adjustments to the existing entity structure will
                help us operate better across the US.

                My question is this – if we do change the entity and name, what do we
                need to do on the J&J side to carryover the MSA/projects we have in
                place? I’m wondering if WORKSENSE has experience or a standard
                way of accommodating this. Basically, we’d like to preserve the work
                we have with J&J with minimal administrative disruption.

                Happy to talk!
                Matt


         90.       The Worksense representative responded and asked: Hi Matt – is it just a name

change or will you be changing your tax ID numbers as well? To which Ornelas-Kuh responded:

“I think the tax ID numbers would also change.”

         91.       The Worksense representative responded the same day as follows:

                So if everything is changing then we would need to offboard the old
                company and onboard the new. Its [sic] kind of awkard [sic] because we
                really cannot offboard the old company until all current SOWs under
                that name have ended and all invoices have been paid. So its [sic]
                possible you will have to manage two accounts for a while until we can
                offboard the old one. Let me know when you are ready and have all the
                info to onboard the new one.

Ornelas-Kuh promptly forwarded this exchange to Johnson with an “fyi.”

         92.       Less than two weeks prior to that exchange, on February 15, 2020 Ornelas-Kuh had

sent an email to Johnson about the work he was drumming up, stating:

                Hi, I wanted to make your weekend         Here is the expected revenue
                for the three Actelion SOWs, based on Net 100 terms and less the
                WORKSENSE management fee: All of this work is slated to end mid
                year. I want to sell another ~350k worth of work for H2 2020… at least.
                POAs for sure, more TAMs? Bill PMO? … Excited to see how much
                the JJ + Matt partnership can generate (smiling winking emoji)
                Matt




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         93.       At no point were CCFW or John Studdiford considering a change of the entity or

name, but apparently Johnson and Ornelas-Kuh were already conspiring to steal CCFW business

and start their own business for their own financial benefit and, notably, February 2020 is the

month Manning began working at PEC.

         94.       And in March 2021, Ornelas-Kuh sent Johnson a sample “Identity Proposal” from

a vendor that provides assistance with developing or changing company logos when there were no

plans for CCFW to change its identity, name, website or logos.

         95.       Thus, it is now no surprise that in early 2022, Ornelas-Kuh, fully aware of

Johnson’s plans, began actively stealing and sending Johnson confidential CCFW and client

information. For example, on February 26, and February 27 2022, two days before Johnson

resigned from CCFW, and one day after Ornelas-Kuh forwarded his Duty of Loyalty agreement

with CCFW to Johnson, he was sending Johnson confidential CCFW financial information and

other details regarding Janssen’s pending and ongoing work with CCFW.

         96.       In early March 2022, after Johnson had informed Studdiford she was resigning and

while still working as Managing Director of CCFW, but before she purportedly informed others in

the Company she was leaving, Johnson sent an email to the CCFW leadership team, without

copying Studdiford, requesting an accounting of all signed SOWs for 2022 by client and by project.

Clearly this active theft of information, information Johnson knew she and the other Defendants

were not entitled to, was to support her/PVI’s theft of CCFW clients, Confidential Information, all

in an effort to steal and leverage this highly business sensitive information to advance her own

company, PVI, the other Defendants and engage in illegal and criminal unfair competitive practices

through a pattern of racketeering activities.




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         97.       Fully on board with their plot and an active participant apparently from the

beginning, Bicking responded to Johnson right away, sending her a highly confidential internal

CCFW budget tracking spreadsheet with 2022 budgets for various CCFW clients including PEC

and six others. Similarly on March 18, 2022, days before the last day of Johnson’s tenure as

Managing Director, Ornelas-Kuh sent Johnson a proprietary and confidential CCFW marketing

presentation that Studdiford had recently sent him, as well as additional information on upcoming

Janssen work. That day Ornelas-Kuh was also helping Johnson script her departure emails. In

response to one of the draft departure emails Ornelas-Kuh sent her, Johnson responded, “Makes

me smile and feel appreciated. We make a pretty AMAZING team.” It is unclear from Johnson's

response whether she was referring just to herself and Ornelas-Kuh as a "team" or to the broader

association-in-fact enterprise involved in the illicit and criminal activities.

         98.       Valuable intellectual property and proprietary information and intelligence on

CCFW’s SOWs and their associated budgets, which include highly proprietary, competitive,

business-sensitive information and trade secrets on pricing, vendors and processes, among other

things, would allow Defendants to target clients and use pricing information to unfairly compete

with and/or divert work from CCFW. All these materials and others were CCFW work product that

were later found on Johnson’s laptop that she took with her when she left CCFW. With the SOWs

and budgets in hand and a plan to steal work from CCFW, Defendants began counting their ill-

gotten gains before PVI was even established, and before one client was legitimately acquired or

one stitch of work was performed by it.

         99.       To further the subterfuge and deflect CCFW’s attention away from Johnson’s and

the others’ racketeering scheme and theft of Confidential Information Johnson sent a March 23,

2022, “CYA” email to high-level executives at PEC including Manning, and copying John




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Studdiford, claiming that it was Johnson’s wish that PEC continue its relationship with CCFW “as

its execution partner,” while Johnson knew full well that the work would actually go to her, PVI,

Bicking and Weiler while they were still on CCFW’s payroll – and that PVI would bill PEC, and

receive payment from PEC, for that work. Lin and Shah were two of the addressees on and

recipients of Johnson’s email.

         100.      That same day, Manning directed CCFW to communicate only with her at PEC,

obviously not wanting others to know what she and the Defendants had planned. This attempt to

quash Studdiford and all CCFW employees from interacting with others at PEC was a blatant effort

by Defendants to control the narrative and perpetuate their overall plan; thus, the cover-up

proceeded.

         101.      Unfortunately, Studdiford had no suspicions of Defendants’ devious plans at the

time because of their long professional history and relationship, and he followed Manning’s

directive.

         102.      In addition, given the email from Johnson requesting CCFW continue to lead PEC

business, as well as the fact that Bicking and Weiler were still employed by CCFW, Studdiford

continued to actively support Bicking, Weiler, Manning and PEC employees on PEC projects,

including those projects already guaranteed by Manning/ PEC to go to Johnson/PVI. Studdiford

was fooled.

         103.      Emails between Johnson and PEC, including Manning, in the days just prior to

March 23, 2022, and even during the earlier part of that very day, make plain that Manning and

Johnson had no intention that Johnson would be leaving the PEC business behind with CCFW

once she left.




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         104.      Those emails make crystal clear that Johnson’s work continued full force. For

example, on Monday March 21, 2022, Johnson emailed Manning to provide quick updates

regarding biweekly issues, goal decks, their coffee-chat schedule, and her joining an upcoming

meeting. The same day Johnson was included in preparing a medical response letter. Johnson also

was leading discussions for a meeting on that same day regarding a payer taskforce and advancing

key tactics. And she was deeply involved concerning sensitive issues relating to medical goals for

2022.

         105.      And prior to the above email to Manning and Studdiford on March 23, 2022, on the

very same day, Johnson already had been emailing Manning and Anjana Pursnani, the PEC Head

of Human Resources and Senior Vice President Head of People, about the 2022 goals indicating

“As is[sic] you have not had enough fun on goals YET - - - we have been working this morning

on clean ups overall and the one pager view to share this week. What do you think of this layout?”

Manning responded, again before the email announcement, stating “Amazing.”

         106.      Also on March 23, 2022, Johnson’s co-conspirator, Bicking, was emailing high-

level PEC personnel, including Lin, Shah and Kevin Ma, the US Head of Compliance and

Managing Counsel, to discuss upcoming regular meetings over the next three to four weeks on a

key strategic initiative. The “team” listed in that email included these three executives.

         107.      The next day, March 24, 2022, just one day after she had purportedly first told

Manning and PEC that she was leaving CCFW, Johnson was in possession of an email from

Manning to high level PEC individuals, not copied directly to her, discussing the highly sensitive

medical goals for 2022, including plans well into the third quarter of the year.




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         108.      Johnson also had possession of an email from that same day from Manning to a

high-level PEC individual regarding approval of an invoice for an upcoming Congress, which also

had not been sent or copied directly to her.

         109.      And on March 25, 2022, Johnson’s last day as a CCFW employee, and one day

before she signed consulting and confidentiality agreements with CCFW, Manning was sharing

with Johnson a SharePoint link to PEC files.

         110.      Given their close personal relationship and all the communications between them

regarding Johnson’s leaving CCFW, Manning certainly knew Johnson was leaving CCFW well

before March 23, 2022, yet these emails reflect that Manning and PEC contemplated a continuing

work relationship with Johnson going forward. This is not the conduct and participation of

someone who was about to stop working for PEC and transition the work to her CCFW colleagues,

or of a General Manager of a company who was going to stop working with Johnson.

         111.      But it was not enough for Johnson to know that she and other Defendants would

soon rake in millions of dollars of PEC’s business she was diverting from CCFW to PVI. Her ego

and greed got the best of her, and Johnson wanted more money from CCFW.


  Johnson Signs a Consulting Agreement and Confidentiality Agreement with CCFW, in
  Addition to her Restrictive Covenant Agreement with CCFW, with Full Knowledge that
   She Would Immediately Breach and Would Not Comply with Them Going Forward.

         112.      Not knowing what Johnson would be doing next to earn a living and being unaware

at that time that Defendants were actively conspiring to steal business from CCFW and breach

CCFW’s confidentiality and non-competition agreements, the Studdifords again went overboard

for their trusted and long-time employee, Johnson. Not only did the Studdifords host a Goodbye

Zoom call with all CCFW employees to thank Johnson for her service and give her the opportunity

to say goodbye to everyone, but they also had CCFW give Johnson a lucrative consulting




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agreement to help someone they believed to be a “friend” as she embarked on the next phase of

her life.

         113.      Despite knowing what Defendants did and were about to do, and to further divert

CCFW’s attention from their previous, current, and future criminal and tortious actions and give

Defendants even more time to steal CCFW’s Confidential Information, Johnson’s greed again got

in the way. She grabbed the extra cash being offered and, on or about March 26, 2022, signed both

a Consulting Agreement (with a term through July 17, 2022) and a Confidentiality Agreement

(with a ten-year term), knowing full well at the time she signed them that she would not comply

with their terms.

         114.      In fact, just the day before, on March 25, 2022 (her last day as a CCFW employee),

and with the hope that she could divert more business from CCFW to PVI, Johnson reached out to

Pamela Stephenson, the COO of another important CCFW client, Albireo Pharmaceuticals,

informing her that she was resigning from CCFW.

         115.      The Consulting Agreement with CCFW that Johnson signed on March 26, 2022

provides, in pertinent part, as follows:

                Contractor agrees, for the duration of the term of this agreement, not to
                pursue any business opportunities that will create a conflict of interest
                with the Company, and to notify the Company immediately, in writing,
                of any actual or potential conflict of interest. Contractor also agrees, for
                the duration of the term of this Agreement, not to solicit any client,
                customer, or employee of the Company to engage in any business
                relationship with Contractor other than in furtherance of the objectives
                of this Agreement.

         116.      Meanwhile, the Confidentiality Agreement provides, in pertinent part, as follows:

                Consultant agrees, for a period of ten (10) years following the Effective
                Date, to retain in confidence all Confidential Information disclosed to
                Consultant by or on behalf of CC Ford Group, whether or not in writing
                or recorded in electronic of other format. Consultant further agrees that
                she “will not, either directly or indirectly, use any Confidential




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                Information for any purpose other than to discharge her duties under the
                Consulting Agreement without the prior written consent of CC Ford
                Group.”

                Confidential Information is defined in the Confidentiality Agreement as
                “All technical data, materials, and/or information, as well as all studies,
                analyses and/or copies derived therefrom, and any other nonpublic
                information of CC Ford Group provided to Consultant in the
                performance of her services.” CC Ford Group includes all subsidiaries
                and affiliated companies including CCFW. The Confidentiality and
                Consulting Agreements are attached hereto and incorporated herein by
                reference as Exhibits A and B, respectively.

         117.      These agreements were in addition to an earlier restrictive covenant agreement that

she also had violated and intended further to violate going forward. Specifically, since on or about

August 31, 2003, when she began working for the Company’s parent, CC Ford Group, Johnson

was bound by an Employee Non-Competition, Non-Solicitation, Confidentiality and Dispute

Resolution Agreement ("Johnson's Non-Compete Agreement") with CC Ford Group which was

later assigned to the Company. Johnson remained bound by the Johnson Non-Compete Agreement

when she was assigned to work for CCFW in 2013 and thereafter. CCFW is a wholly owned

subsidiary of CC Ford Group, and Johnson continuously held herself out as a CC Ford Group

employee in her emails, healthcare insurance, Amex business card, work signature blocks, and in

her highly active and detailed LinkedIn account. When she left the Company, she asked Studdiford

for copies of her non-compete agreements, clearly acknowledging she was bound by them.

         118.      Pursuant to Johnson's Non-Compete Agreement, Johnson agreed, among other

things, not to compete or own, directly or indirectly, any “competitive business” (as defined in

Johnson’s Non-Compete Agreement) with CC Ford Group during Johnson's employment and for

a period of one (1) year subsequent to her employment's termination. Specifically, Johnson's Non-

Compete Agreement provides:

                   a. Restrictions on Competition. During Employee's employment




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                   with the Company and for a period of one (1) year after termination
                   of Employee's employment with the Company, Employee will not,
                   directly or indirectly, own any equity interest or option or right to
                   acquire an equity interest in any Competitive Business as defined in
                   subsection (e) below (other than in Employee's capacity as a holder
                   of not more than five percent (5%) of the combined voting power of
                   the outstanding stock of a publicly-held company).

         119.      Pursuant to Johnson's Non-Compete Agreement, Johnson also agreed for a period

of two years not to solicit for any “competitive business” (defined therein), directly or indirectly,

any account, client or customer with whom CC Ford Group had conducted business or for whom

it had performed services during the one-year period prior to Johnson’s termination. Pursuant to

Johnson's Non-Compete Agreement, Johnson also agreed not to solicit CCFW employees and not

to disparage CC Ford Group in a manner resulting in harm to or loss of the CC Ford Group's

business subsequent to her employment's termination.

         120.      At no point did Johnson abide by these agreements.

                                           The Deception Continues

         121.      In a Zoom meeting on or about March 28, 2022, Manning and PEC abused their

relationship with CCFW and covered up that they had no intention of continuing to do business

with CCFW. Instead, during the meeting, Manning halted just one of the projects CCFW was

working on, stating that other projects with CCFW would be sorted out.

         122.      Manning was very positive on the call and, in an undeniably oleaginous and sleazy

manner, proclaimed her active support for CCFW to continue to work for PEC. In reference to

Johnson’s resignation from CCFW, Manning stated “This will be good for her.” Clearly Manning

was well aware and part of the scheme to ensure Johnson’s and all Defendants’ financial success.

         123.      Trusting and believing Manning, on April 7, 2022, Studdiford checked in with

Bicking on the status of outstanding PEC SOWs. Bicking responded positively that things were




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moving forward with PEC and going well, and that they had secured three SOWs, the Field

Training Project through December 2022, the POA2 Project Management for September 2022,

and the 2023 President’s Club. Bicking had also sent over budgets for ASH 2022 and reported that

an SOW that was also pending. There was also discussion of a POA prep meeting that Bicking

claimed CCFW would likely do, and there was also a contemplated People Function/New Hire

Project. Bicking was lying to Studdiford to cover not only her own but all co-conspirators’ actions,

reduce any potential suspicion from Studdiford, and allow Defendants to continue to steal business

for the benefit of themselves while Johnson, Bicking and Weiler were being paid by CCFW.

         124.      Ultimately on April 29, 2022, Manning initiated a Zoom call with Studdiford to tell

him that all of the SOWs (that Bicking reported to Studdiford in early April) would not be finalized

and PEC would enter no further SOWs with CCFW. Amazingly, under the leadership and false

guidance of Bicking, Weiler, Johnson and Manning, CCFW actively had been working on the

projects detailed by Bicking, as Bicking led the PEC account and oversaw employee activities and

client relationships.

         125.      Thereafter, Johnson, while a CCFW consultant, and Bicking and Weiler, as CCFW

employees, continued to clandestinely work on PEC projects that Manning and PEC had just

terminated CCFW from performing. Unbeknownst to the Studdifords, PEC and Manning directed

Johnson, Bicking and Weiler to continue working on those very PEC projects on behalf of PVI

even though all three remained on CCFW’s payroll and continued to work at CCFW.

         126.      Defendants knew that CCFW had been promised all SOWs but, because there were

no signed SOWs for these projects, CCFW would never be paid by PEC.

         127.      In furtherance of their RICO scheme, Bicking and Manning purposefully misled

Studdiford and CCFW that the various SOWs would be completed by CCFW and they directed




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CCFW employees to continue to work on these projects with full knowledge that all these projects

were being shifted to PVI and Johnson.

         128.      On Monday, May 2, 2022, Studdiford then updated Bicking about his call with

Manning, telling Bicking that all of CCFW’s work for PEC had been pulled and to stop working

immediately and wrap-up billing. None of this happened. Instead, Bicking, an active conspirator

to and participant in the plot, was already fully aware the projects would never be performed by

Bicking for CCFW, but only for PVI. And Bicking ruthlessly and secretly continued to work with

Weiler (both on CCFW’s payroll) on projects that CCFW was never, and never would be, paid for.

         129.      For example, the very next day, May 3, 2022, after Bicking informed the Company

to close all open PEC projects, Weiler sent PEC’s Director of Sales Training and Development

Kristin Page, an email from Bicking's PEC email address which stated that "(This is Beth, Carrie

asked me to email you from her PEC account.)" The email goes on to discuss working on a PEC

project, POA 2, workshop deck. There was no signed SOW for the POA 2 project. Nonetheless,

Weiler still opened up a workflow via Veeva for the project on May 5, 2022.

         130.      On May 12, 2022, Weiler sent Rob Kavanaugh of PEC an email regarding her

working on an ongoing PEC project.

         131.      On May 16, 2022, Bicking emailed Weiler asking if "everything [was] all set" for

workshops related to a PEC project POA 2 Workshops.

         132.      On May 18, 2022, Rob Kavanaugh of PEC added Weiler to an email chain

discussing a PEC project, MLR. Weiler indicated via a responsive email on the same date that she

would start work on the project. Weiler informed Kristin Page that she created slides for PEC POA

2 project on May 23, 2022. As noted, there was no signed SOW for the POA 2 project.




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         133.      On June 6, 2022, after PEC employee Kristin Page, was called by CCFW about a

project that was being handled by Bicking and Weiler on behalf of CCFW (up until they left in

May 2022) without a signed SOW from PEC, Manning shot off an aggressive and unwarranted

email to Studdiford and a CCFW employee directing that all questions only go to her. The email

stated: “Can you direct all questions to me moving forward. Per my previous conversation with

John, we are going to utilize other training agencies and our AOR (Agency of Record) for POA

and other meetings.” Clearly the call from CCFW to understand what was occurring with its

projects for PEC hit a raw nerve with Manning and her overly aggressive response sent off warning

flares to Studdiford and other CCFW employees.

         134.      This email was a clear misdirection and manipulation from Manning as she bullied

and lied to convince Studdiford and CCFW that the work that was promised to, and then removed

from, CCFW was going to “PEC’s agency of record” while, in fact, it was all being shifted over to

PVI.

         135.      Manning purposefully lied to Studdiford, and co-opted CCFW’s financial stability,

history, and intellectual property to ramp up business for PVI by highly recommending CCFW to

her colleagues and direct reports on February 27, 2022, the very day before Johnson resigned, with

the full intention that the CCFW work-in-progress, along with the promised work, would all go to

PVI.

         136.      As if all that were not enough, and as explained more fully below, Manning also

provided false information to CCFW and outside companies like Westin. Manning also would not

allow CCFW to communicate with PEC employees.




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         137.      For its part, CCFW acted with complete honesty and integrity, believing both

Manning’s representations and Johnson’s announcement email to PEC suggesting (falsely) that

she also expected PEC to continue working with CCFW.

         138.      Studdiford had trusted Manning due to their long-term professional relationship and

had no idea of the plan Defendants had concocted to steal CCFW business and enrich themselves.

         139.      On a follow up Zoom call to the June 6th email, Studdiford and a CCFW employee

spoke with Manning regarding billing and unsigned SOWs for work that was performed.

         140.      During the call, which took place on Thursday June 9, 2022, when Studdiford

brought up the issue of outstanding PEC invoices and the number of projects being worked on by

CCFW for PEC that were not supported by signed SOWs, Manning became very anxious and

agitated. Manning must have suspected that CCFW was slowly uncovering the first few layers of

her deceit but Manning nonetheless continued the charade to deceive Studdiford and CCFW while

continuing her illicit actions with impunity. Manning’s actions and words were so bizarre that a

CCFW employee called Studdiford afterwards and suggested that Manning was lying, covering

up something and clearly got caught in her own web of lies.

         141.      This work would be given by Manning and PEC to PVI despite apparently there

being no proper request for proposal (“RFP”) or other internal PEC financial, legal or compliance

review as is customary for any pharmaceutical company before any work on a project is approved

or a new agency is engaged.

      PEC Issues PVI a Master Services Agreement Apparently Without Going Through
         Proper Channels, and Johnson, Bicking and Weiler Heavily Make Use of
                   PEC Email Addresses to Mask What They Are Doing

         142.      Moreover, on or about March 29, 2022, just three days after Johnson entered into

the Consulting Agreement and Confidentiality Agreement with CCFW, and without seeking




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anyone’s approval at CCFW despite it being required by her Consulting Agreement, Johnson, on

behalf of PVI, entered into a master services agreement (“MSA”) with PEC. The MSA had been

sent to Johnson via email the day before she signed it.

         143.      The MSA, a highly detailed and legally complex document that typically takes

weeks, if not months, to negotiate and finalize, was already signed by Manning as PEC’s “General

Manager.” Clearly, given the usual time required to develop, review and finalize an MSA in the

pharmaceutical industry, Manning would have had to direct PEC to actively begin the PVI MSA

well in advance of the date on which she signed, and during the period while Johnson, Bicking and

Weiler were all still active employees of CCFW. Given Lin’s and Shah’s executive roles in PEC,

they would have endorsed PEC entering into the MSA.

         144.      Upon information and belief, however, Manning signed the MSA without it going

through proper channels at PEC, as well as all the necessary and proper vetting of a potential new

vendor, including finance, legal and compliance departments, as is customary in the

pharmaceutical industry. While a March 29, 2022 email from Manning’s Senior Administrative

Assistant Rosen to Johnson indicates PVI would need to be approved as a new vendor, CCFW is

unaware of any such approval process and, in fact, the MSA was signed by Manning and became

effective on March 29, 2022.

         145.      At the time the MSA was signed, PVI did not have office space, IT structure,

insurance, financial backing, clients, or any employees except for Johnson.

         146.      Just days after Johnson executed her Consulting Agreement with CCFW, Manning

sent Bicking an email, dated March 31, 2022, requesting the most recent SOWs, and blind-copied

Johnson, but did not send it to Johnson’s CCFW email address, which Manning could have used

given Johnson’s role as a CCFW consultant. Instead, to hide what they were doing, Manning




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blind-copied Johnson at her new PEC email address (Jennifer_johnson@pharmaessentia-US.com)

while purposely not copying Studdiford or anyone else at CCFW. Manning clearly wanted to

know the exact amount of project dollars she could immediately hand over to PVI and the other

Defendants.

         147.      In furtherance of Defendants’ cover-up, Bicking and Weiler began to heavily use

PEC email addresses while they were still being paid by, and working for, CCFW. Johnson,

Bicking and Weiler all delayed using any PVI email addresses to not draw attention to themselves

and to allow them to advance their nefarious plot in secrecy as they never expected CCFW would

be able to gain access to their PEC emails.

         148.      The clear use of PEC emails, rather than the normal procedure of sending

communications via CCFW emails to CCFW employees and a CCFW consultant, was just another

blatant attempt to hide the illicit activities of Defendants as they continually conspired to

implement their plan of breaking their agreements, working against CCFW’s interests and/or

ultimately stealing CCFW’s Confidential Information and business.                Furthermore, PEC’s

allowance of Johnson, Bicking and Weiler to use PEC email addresses further implicates PEC and

Manning and their active participation in the pattern of illegal activities and efforts to coverup their

blatant and criminal wrongdoing. Plaintiffs cannot know the full extent of the relationship between

PEC’s leadership and Johnson, Bicking and Weiler until PEC’s and the individual defendants’

emails are obtained in discovery.

                                 Bicking and Weiler Resign from CCFW

         149.      After working with her co-conspirators for months, and actively participating in

their wrongdoing, Bicking gave notice of her resignation to CCFW on or about May 13, 2022, and

her last day of employment was May 20, 2022.




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         150.      Similarly, after actively participating in Defendants’ illicit activities for months,

Weiler gave notice of her resignation to CCFW on or about May 18, 2022, and her last day of

employment was on or about May 25, 2022.

         151.      Bicking and Weiler both immediately went to work at PVI and continued working

on the same PEC projects they were covertly working on while still at CCFW, as well as new PEC

projects delivered to them on a silver platter by Manning and PEC. In SOWs entered in May 2022,

Bicking was listed as Senior Director, Client Services, and Weiler as a Project Manager.

         152.      To continue to benefit from CCFW’s great reputation in the industry and continue

to hide their actions and deceive clients, Bicking did not change her LinkedIn profile for many

months after she left CCFW.

         153.      Similarly, for six months after she left CCFW and two-and-a-half months after her

Consulting Agreement with CCFW ended, Johnson postured to the entire pharmaceutical

community in her LinkedIn profile that she remained Managing Director of CCFW and only

updated her profile after the Court in this litigation ordered her to do so on September 28, 2022.

         154.      Johnson set up Bicking at PVI with a salary and a profit-sharing component,

presumably to ensure Bicking’s loyalty to her and PVI in hiding their theft of CCFW clients and

its Confidential Information.

         155.      Johnson intended to set up PVI with that profit-sharing structure for other future

employees as well. For example, to retain a consultant, Johnson indicated that once she was later

retained as an employee Johnson hoped to align their interests by giving her a profit-sharing

arrangement.

         156.      Stated differently, Johnson was setting up a compensation plan just like the one she

had at CCFW where she remained an employee despite sharing in profits. Such a financial




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arrangement would also motivate PVI employees and align their financial interests with the

manner in which Defendants went about stealing from CCFW through their RICO enterprise.


                       Manning and PEC Violate Industry-Standard Corporate Policies

         157.      Given Manning’s industry experience, education, and employment history with

leading pharmaceutical companies, it is shocking that Manning would actively participate in a

scheme to enrich Defendants while risking her career and reputation. Likewise, that PEC would

be involved is also extremely troubling.

         158.      Manning, an industry veteran who worked for many large pharmaceutical

companies, knew her actions and participation in Defendants’ plan were clearly in conflict with

company and industry compliance standards. None of her previous employers – Baxter, Shire,

Vertex or Pfizer – with strict financial and legal controls - would have permitted or provided any

opportunity for an individual to become part of a vindictive and financially lucrative plot to funnel

company business and funds to a close, personal friend and a shell company with no other

employees, shared office space, and no insurance or financial stability.

         159.      In addition, pursuant to well-established, standard protocol for pharmaceutical

companies, Manning should have been required to undertake compliance training at PEC as its

General Manager and later President of the Americas, although she surely had to complete such

training at her other employers to ensure she understood and complied with all governing corporate

policies and federal and state laws and regulations.

         160.      Compliance in the pharmaceutical industry is an absolute must, and it covers such

far-reaching corporate and government areas as codes of conduct, conflicts of interest, cyber and

data security, business ethics, gifts and expense reporting, anti-kickback, confidentiality, corporate

espionage and other important laws, regulations, and policies that all pharmaceutical executives




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and employees must adhere to under governing corporate policies and applicable laws and

regulations. In any event, based upon her work history as well as her relationship with her close

friend Crum, who served as a legal compliance expert for PEC and who would have been involved

in developing corporate compliance policies at PEC, Manning was fully aware that her activities

as well as those of the others were illicit (as evidenced by her many efforts to conceal their

activities) and her blatant disregard for industry legal, compliance and regulatory requirements is

truly astounding.

         161.      The routine systems of disclosure, review, and approval/denial that are standard

fare at pharmaceutical companies certainly were not followed by Manning or PEC and/or Manning

and the others involved actively worked to evade these systems through manipulation and deceit.

         162.      Manning proceeded to cover up her role in steering work and PEC funds to her very

close friend Johnson at an untested, unproven, brand-new entity PVI that was operating in

contravention of legal obligations, was less than a month old, and with only one employee and no

other clients. Perhaps it was not just the close, personal relationship that caused Manning and PEC

to award almost $5 million in business to Johnson and PVI during the first year of PVI’s operations.

Perhaps there were other nefarious reasons that would explain this behavior. In any event, and

upon information and belief, PEC paid PVI significantly more fees to work on the same or

substantially similar projects than it had paid to CCFW for such projects in the past.

         163.      Other pharmaceutical companies comparable to PEC would never let a leading

executive manipulate and abuse her professional position for personal gain – or to enrich family

members, close friends, or the pharmaceutical company that employed them – and would never

retain such an inexperienced and underfunded start-up to perform all this critical work especially




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after all of the glowing accolades from Manning and PEC about their then current agency, CCFW,

as set forth above.

          164.     Despite being K.C. Lin’s son and PEC’s VP of Business Operations and Strategies,

Lin appears to have knowingly permitted Manning and PEC to exploit PEC’s United States

operations and whatever compliance protocols it may have had in place.               Lin clearly had

knowledge of Johnson’s continued involvement with PEC even as she was preparing to leave

CCFW. Presumably, Lin was sharing this information with his CEO father as well as other

executives and shareholders of PEC.

          165.     For example, in mid to late February 2022, long after Defendants hatched their plot

for Johnson to leave CCFW and take all PEC business when she left and to start a competing

pharmaceutical communications firm, Lin was involved and/or aware of Manning’s inclusion of

Johnson in high-level, strategic discussions and preparations for Board of Director meetings.

          166.     Johnson was exposed to the highest level of confidential information at PEC despite

never having been directly employed by a pharmaceutical company, having no oncology-drug

experience while at CCFW, absolutely no drug-launch experience beyond CCFW, no medical or

life science degree, and no advanced business degree. This also is evidence of the close working

relationship and PEC’s likely involvement and knowledge of the wrongful activities described

herein.

          167.     Similarly, Shah had knowledge of Johnson’s involvement in high level meetings

and strategic discussions despite her limited expertise. Shah was also aware of the circumstances

of Johnson’s departure from CCFW and Manning’s support of Johnson’s continued work with PEC

after she left the Company, and he was also on notice of this litigation at least as of September

2022.




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         168.      As set forth above, PEC had lax or nonexistent compliance policies, controls, and

oversight at least regarding its dealings with PVI and the other Defendants to such an extent that

it suggests PEC’s and Manning’s knowing involvement and participation in the RICO enterprise

and that they were an integral part of the conspiracy to violate the law.

         169.      At or about the same time, based on communications between Johnson and Bicking,

regarding certain content approvals for sales meetings, PEC appears to have been similarly

noncompliant in other important areas that often are the subject of government investigation of

pharmaceutical companies. Communications between Johnson and PEC personnel including

Shah, also evidenced disorganization around compliance issues.

    170.           Thus, it is evident by the documentary evidence created by Defendants that PEC

was run, by Manning and others, without proper controls and that Lin and Shah allowed the

malfeasance that is the subject of this Complaint to persist.

       Defendants’ Conduct Is Egregious and Manning Allows PVI to Overcharge PEC
                                  for Defendants’ Benefit
         171.      With the above groundwork in place, and as mentioned above, PEC issued PVI an

MSA while Johnson was still working for CCFW.

         172.      The MSA was signed on March 29, 2022, which was just days after Johnson’s last

day as a full-time CCFW employee; however, Johnson was still working for, and being paid by,

CCFW under the Consulting Agreement until July 17, 2022.

         173.      Manning signed the MSA for PEC on March 28, 2022, while Johnson signed for

PVI on March 29, 2022.

         174.      As of March 29, 2022, Johnson, Bicking and Weiler all were still employed by or

consulting for CCFW.




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         175.      The work CCFW had been performing on behalf of PEC was then reflected in

SOWs between PEC and PVI entered between approximately April 2022 and the end of June 2022

pursuant to the March 29, 2022 MSA.

         176.      Johnson retained Bicking to work for PVI as Senior Director of Client Services and

Bicking seamlessly moved to that position upon resigning from the Company. Upon information

and belief, she is now a Vice President at PVI.

         177.      However, while still working for CCFW at least in February and March 2022,

Bicking used her personal Gmail account to set up LinkedIn job postings for Project Manager

positions, purportedly for CCFW, but likely for PVI hires. She had the temerity to pay for the

LinkedIn postings with her CCFW American Express card. To hide this activity, however, she

classified it as a PEC expense. This is further evidence of collusion between, among others,

Johnson, Bicking, Manning and PEC.

         178.      Johnson was deliberate in her deceit as further evidenced by emails from her

personal email account where she corresponded with various potential vendors about her plans to

take CCFW employees. Specifically, on March 23, 2022 at 12:28 PM she emailed a vendor to

provide her new contact information and forecasted her plans to hire Bicking.


                Hello Jackie,

                Here is my temporary contact information. THANK YOU for your
                very kind words.

                I know you come to us through a personal relationship with Carrie –
                whom I ADORE and would unplug her immediately - but there are
                some steps I have to go through as I transition to protect myself.

                HOWEVER, with that said - if you can hold OUR non-CCF
                relationship in confidence - there are TWO things I would like to
                discuss with you on Monday. Are you game??




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         179.      Once Bicking left CCFW in May 2022, she immediately began work on PVI

projects for CCFW’s former clients despite Johnson’s knowledge that Bicking had both Loyalty

and Confidentiality Agreements with CCFW, and Bicking accepted the position at PVI despite

knowing that she had entered into those binding agreements with CCFW.

         180.      Many of the SOWs PVI obtained from PEC were the very projects Bicking

clandestinely had been working on while still at CCFW.

         181.      Those include May 2022 POA 2 meetings, a POA pre-meeting in August 2022 in

Chicago, POA3 meetings at the Revere Hotel in Boston in September 2022, and PEC ASH

meetings in New Orleans in December 2022. For some of these projects, the fees paid to PVI

appear greater, and in some cases significantly greater, than those that were paid or in process

when the work was still with CCFW.

         182.      CCFW eventually discovered emails that were accidentally sent to Bicking’s

CCFW email address rather than her PEC address. Those emails show that Bicking was working

with CCFW’s vendor, Sky Events Management, to book the Revere Hotel in Boston for the PEC

POA Meeting in September 2022.

         183.      To protect CCFW, Studdiford called the salesperson in charge of the event and

asked for a copy of the CCFW contract for the upcoming meeting; the salesperson emailed the

signed contract (now under PVI’s name) to Studdiford.

         184.      The contract shows that Bicking signed the Revere contract on behalf of PVI on

May 20, 2022, while still employed by CCFW.

         185.      That Defendants lifted various projects completely from CCFW to PVI is further

evidenced by checks and invoices relating to the SOWs PVI entered with PEC and the related

requests for payments.




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         186.      For example, PVI took over the POA 3 meetings in Boston in September 2022,

using the Revere Hotel that Bicking had booked through CCFW. The Revere Hotel invoices for

meals and conference rooms list CCFW’s address in Bernardsville, New Jersey, and Bicking as

the contact.

         187.      Similarly, while still employed by CCFW, Bicking was working with CCFW’s

vendor, Sky Events, in April 2022 to book the Westin Grand Central Hotel in New York City for a

PEC event scheduled for June 16 and 17, 2022.

         188.      The Westin contract lists CC Ford Healthcare as the organization contracting for

this PEC event. That it was actually signed on behalf of CCFW by a PEC employee, without

CCFW’s knowledge, is outrageous.

         189.      CCFW discovered from a Westin Hotel employee that CCFW was responsible for

the meeting, and he provided the event order showing same, but CCFW had no PEC SOW or

contract for payment for this work. While on site, CCFW uncovered the signage for the event that

included the use of CCFW’s name and identity.

         190.      As it turned out, PEC had given PVI an SOW for this meeting despite Johnson still

being under contract with CCFW.

         191.      Johnson continued to assign Bicking to the “Project Velocity Team” on PVI / PEC

SOWs for at least the full term of her Loyalty Agreement, and Bicking has continued to work on

those matters. Upon information and belief, Weiler also has worked on these matters despite her

agreements with CCFW.

         192.      As far back as March 23, 2022, Bicking had been emailing PEC employees,

including Manning, about a PEC President’s Club meeting scheduled for May 4-7, 2023.




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         193.      On May 11, 2022, despite Manning and PEC firing CCFW and directing it not to

work on any matters on its behalf, including PEC’s May 2023 President’s Club trip, Manning

signed a contract with the Ritz-Carlton related to accommodations arranged by Bicking with

Bicking having a PEC email address as the contact even though Bicking remained a CCFW

employee through May 20, 2022. Bicking continued to work on the President’s Club trip for PEC

through her last day of employment at CCFW.

         194.      The PEC President’s Club trip in 2023 was another project for which PVI secured

an SOW from PEC. This was a direct flip of the project work CCFW was conducting, except that

Manning allowed PVI to charge twice as much in fees as CCFW had agreed to charge PEC.

         195.      Moreover, part of the work under that PVI SOW was explicitly work conducted by

Bicking in April 2022, while she was employed by CCFW, yet the PVI SOW listed it as a task for

PVI for April 2022.

         196.      CCFW’s SOW from PEC for this project was drafted in May 2022, while the PVI

SOW was entered into just a few weeks later in June 2022. Yet, as previously stated, the fees to

be paid to PVI were significantly more than were to be paid to CCFW. Moreover, in June 2022,

Johnson was still working for CCFW as a consultant and Bicking was still bound by her Duty of

Loyalty Agreement.

         197.      PVI ran the May 2023 event for PEC with Johnson and Bicking being listed as the

Project Team for PVI in the SOW.

         198.      It is, thus, clear from the above that PVI and the other Defendants were trading off

of the good name and reputation of CCFW to their financial benefit. This also resulted in PVI

obtaining business from at least two other CCFW clients, Merz and Albireo Pharmaceuticals, while

Johnson, Bicking and Weiler still worked for CCFW.




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                Manning’s And Johnson’s Other Inappropriate Business Practices –
         Including Sharing Public Companies’ Confidential Information and Trade Secrets

         199.      There is other compelling evidence that Manning’s and Johnson’s business ethics

are not just highly questionable, they are unacceptable and criminal.

         200.      Unbeknownst to CCFW/Studdiford, and against CCFW policies, Manning shared

with Johnson confidential, internal documents from public companies where Manning worked

previously and Johnson inappropriately shared confidential information of CCFW’s other clients

with Manning and others at PEC. Their criminal acts in stealing this highly confidential

information and trade secrets and sharing them with Defendants for PVI to use, is further evidence

of a pattern of racketeering activity involving Defendants.

         201.      In addition, while working for PEC, Manning had a conflict-of-interest by engaging

in work for Albireo. Specifically, between late February 2020 and April 2020, Manning used her

personal Gmail account to perform work for Albireo. Similarly, on March 6, 2020, again using

her personal Gmail account, Manning sent Johnson a 2018 Actelion Pharmaceuticals deck while

employed by PEC.

         202.      The lack of ethics of both Manning and Johnson is evident in an interaction that

took place just prior to Manning joining PEC. Specifically, on January 14, 2020, Johnson sent an

email to Manning at her personal Gmail account, asking her to silently listen in on a call with

Albireo so that she could then explain to Johnson what the issues were. Johnson wanted to use

Manning’s “big COO brain and debrief.” Manning responded, stating “Fantastic. On it and a silent

observer.”

         203.      Likewise, on February 10, 2020, Johnson sent Manning a confidential Baxalta

Launch Playbook PowerPoint as part of an email related to PEC’s planned product launch.




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         204.      Further evidencing Manning’s inappropriate conduct, in July 2021, Manning

forwarded to Bicking and Johnson internal performance review templates adding to the subject

“DO NOT SHARE.” There were also more than a dozen internal emails Manning shared with

Johnson where Johnson is not on the “to,” “cc” or “bcc” lines.

         205.      In the early Fall of 2021, according to information on Johnson’s CCFW-issued

laptop, she shared with PEC and Manning a Power Point presentation belonging to CCFW client

Albireo, clearly marked “confidential” and for “Internal Publication Only.”

         206.      Similarly, in early February 2022, Manning/PEC shared with Johnson a

confidential document belonging to Shire Pharmaceuticals (“Shire”), a public company where

Manning previously worked, that also was marked “Confidential-Internal Only.”          Manning

obviously took the document when she left Shire, undoubtedly in violation of Shire’s

confidentiality policy.

         207.      Manning also shared with Johnson highly confidential and lengthy Pfizer and

Vertex presentations, two other public companies where Manning had previously worked.

         208.      Specifically, in September 2021, Manning, from her personal Gmail account,

emailed Johnson a 65-page highly confidential internal market-research presentation owned by

Vertex summarizing market research commissioned by Vertex intended for its exclusive use. The

subject line was “What we showed for Vrtx-pre-launch – just ideas.” The document is clearly

marked as confidential and for internal training purposes only.

         209.      And in November 2021, Manning, from her PEC email account, shared with

Johnson a 76-page confidential payer-strategy document owned by Pfizer, relating to its oncology

products.     The document was clearly marked as intended for internal customer alignment

discussions.




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         210.      The repeated theft and subsequent use of confidential documents from leading

pharmaceutical companies clearly shows a pattern of illegal and unethical business practices by

Manning whether to benefit PEC or PVI. Furthermore, the fact that she was engaged in blatant

acts of corporate espionage to clearly help advance the profitability of PEC and/or PVI is equally

disturbing.

         211.      Johnson’s conduct was similarly unethical and disloyal to CCFW and its clients.

On one occasion, Johnson sent Manning an email suggesting that PEC “poach” a woman working

at Janssen, indicating that CCFW works with Janssen but that she “like[s] PEC more (      ).”

         212.      When Johnson left CCFW, she elected COBRA coverage and CCFW made those

monthly payments to ensure that Johnson did not lose her health insurance, but Johnson was

required to reimburse those payments to CCFW. Despite repeated requests, Johnson has failed to

reimburse CCFW for the monthly premiums since January 2023 and through June 2023 when

CCFW informed her counsel it was discontinuing coverage based on Johnson’s non-payment.


   Manning and PEC Are (and Have Been) on Notice of the Contractual and Other Legal
   Obligations of Johnson, Bicking and Weiler to CCFW and Nevertheless Continued to
            Tortiously Interfere with CCFW’s Rights Under those Agreements

         213.      Manning and PEC continue to disregard Johnson, Bicking and Weiler’s obligations

to CCFW despite receiving explicit notice from CCFW’s counsel. By letter, dated September 22,

2022, counsel for CCFW wrote to PEC, informed it of the instant litigation as well as the various

agreements in place between the Company and Johnson, Bicking and Weiler.

         214.      Along with the letter, CCFW’s counsel sent PEC copies of the various agreements

as well as a Litigation Hold letter, placing PEC on notice that it likely had various documents

relevant to the claims herein. Said letter stated, among other things, as follows:




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                It is our legal opinion that the Company has enforceable, binding
                agreements with the Individual Defendants and that, pursuant to those
                agreements, the Individual Defendants are precluded from, among other
                things, working or providing services to PharmaEssentia. Moreover, to
                the extent PharmaEssentia was not on notice of the agreements prior to
                receipt of this letter-although we are sure from the exhibits to the First
                Amended Complaint that it was-this letter provides such notice and
                establishes that, should PharmaEssentia continue to do business with the
                Individual Defendants and/or Ms. Johnson’s company, Defendant PVI,
                it will be tortiously interfering with the Company’s contracts with the
                Individual Defendants and subject to liability and significant damages.

         215.      On or about the same date, the Company’s counsel sent the same, or substantially

the same, letter to Manning.

         216.      Notwithstanding the September 22, 2022 letters, placing PEC and Manning on

notice of CCFW’s claims, PEC and Manning continued to do substantial business with PVI.

Moreover, as a direct and proximate result of Manning’s and PEC’s wrongful conduct, they

assisted and/or enabled PVI and the other Defendants to do business with other clients of the

Company in violation of, among other things, the other individual Defendants’ agreements with

CCFW.

           Johnson, Bicking and Weiler Mishandle CCFW’s Confidential Information
                 and Johnson Finally Allows PVI to Emerge from the Shadows

         217.      An initial review of Johnson’s CCFW laptop showed that over one thousand (1,000)

files were deleted by her on March 25 and March 26, 2022 alone, around the time that Johnson

signed her Consulting and Confidentiality Agreements with CCFW.

         218.      Johnson did not seek permission to destroy these documents as she knew CCFW

would never authorize these deletions. Upon information and belief, Johnson deleted these

documents in furtherance of the cover-up of Defendants’ wrongdoing.




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          219.     Despite repeated demands to Johnson to return the CCFW-owned laptop it had

issued her, Johnson illegally retained the laptop for six months, until finally she was ordered to

return it by the Court in this litigation on September 28, 2022.

          220.     Furthermore, a review of the laptop revealed the extensive theft of CCFW

Confidential Information for Johnson’s own gain and that of the other Defendants. Johnson

reviewed about 670 files residing on a USB that Johnson owned but was at times attached to her

CCFW laptop. Most of those files were reviewed between March and May 2022, and close to 200

of them were in directories with such names as “Carrie Samples,” “Albireo,” “Merz,” “PEC,”

“PharmaEssentia,” and “Project Velocity.” The Carrie Samples directory included files such as:

No 19_PEC-037-22_CC Ford Group West LLC SOW Field Training Project Management.docx;

Versiti      Statement      of    Work_2022       Innovation    Summit.docx;      and     Copy     of

Midwest_Account_Management Tracker_MASTER.xls. All of this information provided

Defendants unfair advantages.

          221.     Nearly half of the files on the USB drive at one point had been on Johnson’s laptop

and were CCFW’s Confidential Information and proprietary client files, documents or trade secrets

including Power Points, Excel files and other documents for CCFW clients including Actelion,

PEC and Merz. They also included CCFW SOWs, vendor forms and mutual NDAs.

          222.     These documents contain commercial information, strategies and other valuable

information that were not generally known to competitors, and not readily ascertainable through

proper and lawful means.

          223.     The documents contain information that was used in, or intended to be used in,

interstate and/or foreign commerce.




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         224.      CCFW had taken various steps to maintain the confidentiality of this information

including, among other things, limiting access to only those with a need to know the information

as well as the use of confidentiality agreements and the like.

         225.      Nevertheless, in addition to the theft through the external drive, in April 2022,

Bicking was using her personal email account to steal CCFW’s client lists and other Confidential

Information sending them to Johnson and PVI.

         226.      Johnson obviously stole these documents to quickly resume the work she had been

performing for CCFW and its clients before she left CCFW, and she stole other documents to

enable her to have PVI up and running much quicker than she otherwise could have without this

information. These documents obviously were valuable, or they would not have been treated as

secret and Johnson would not have stolen and been accessing them if they lacked value to

Defendants.

         227.      Bicking and Weiler also knowingly misused CCFW Confidential Information to

secretly work on matters for PEC.

         228.      Finally, the piece de resistance of the evidence discovered by CCFW is Johnson’s

blatant admission on her LinkedIn page that PVI had been lurking in the shadows for some seven

months before making its public “debut,” which was plainly for the purpose of avoiding detection

by CCFW that Johnson, Bicking and Weiler were willfully and wantonly breaching their

agreements and obligations, and that Defendants were, among other things, conspiring to and

knowingly participating, directly or indirectly, in a pattern of racketeering activities, tortiously

interfering with CCFW’s contracts and business, and unfairly competing.

         229.      On her LinkedIn page in November 2022, and evidently referencing the

association-in-fact enterprise, Johnson wrote: “we’ve operated in the background for the past




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7 months, and now I’m so excited that Project Velocity is finally MAKING ITS DEBUT.”

(emphasis added).

         230.      Highlighting that Defendants initially hid PVI’s launch, in March or April 2023,

Johnson announced on her LinkedIn page PVI’s one year anniversary indicating: “one year – big

impact, 40+ projects completed, +10 large scale meetings 18+ ongoing strategic engagements and

80+ HCP Engagements managed,” and touted a year of incredible growth.

Defendants Also Interfere with CCFW’s Relationship with its Vendors and Use CCFW’s IT
          Vendor to Steal Valuable Confidential Information and Trade Secrets


         231.      Not only did Defendants steal work, and Confidential Information from CCFW, but

they also began to purloin most, if not all, of CCFW’s vendor and agency partners with arrogance

and stealth.

         232.          Intelligence on how CCFW identifies, retains, prices, coordinates with, deploys

and otherwise leverages its vendors and partner relationships is a competitive advantage CCFW

developed, and that Defendants coopted for themselves. This further illustrates Defendants’

laziness, lack of ingenuity, and self-professed “superiority” and entitlement to steal proprietary

relationships and information to easily advance their financial scheme with impunity.

         233.      In fact, one such vendor was CCFW’s outside information technology (“IT”)

consultant, Giuseppe Rodriguez (“Rodriguez”), CEO of RDCS Tech, which CCFW was working

with in connection with this lawsuit to review Johnson’s company-issued laptop as well as other

evidence of wrongdoing.

         234.      Johnson chose to use Rodriguez, who is located in Pennsylvania, despite the fact

that she and PVI are located in New York state, either because she did not want to make any effort




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to find her own IT consultant for PVI or may have retained the vendor to steal other documents or

information regarding CCFW and/or its clients.

         235.      In fact, CCFW learned that Johnson was colluding with Rodriguez since at least

January 18, 2022, when she asked him for help creating archives of CCFW files, to be transferred

to “a new laptop” that was not associated with CCFW. Specifically, the IT vendor told Johnson:

“I need to put your archives on online archive so you don’t lose them when we switch

computers. I have in my notes that we did some but not all.” (Emphasis added).

         236.      Johnson continued to work with Rodriguez while still employed at CCFW in

February and March 2022, getting his help to purchase and set up her new PVI laptop and PVI’s

website domain.

         237.      For example, in an exchange starting on February 28, 2022, Johnson communicated

with Rodriguez to get his assistance not only to set up a laptop for PVI and purchase the PVI

website domain, but also software, phone, storage and ongoing monthly support and requested

their interactions remain strictly confidential. She also expressed concern Studdiford would fire

her.

         238.      CCFW has since fired Rodriguez as its IT Vendor for facilitating Johnson’s theft of

files and working with Johnson and PVI, and that vendor admitted to the Studdifords that Johnson

never thought Defendants would be caught or that CCFW would ever sue her, PVI or PEC.

Johnson also told Rodriguez that the lawsuit blindsided her and that she was “completely shocked”

when CCFW and the Studdifords found out.

         239.      Almost simultaneously with her resignation as an employee of CCFW, Johnson was

communicating with CCFW vendors to work with them in her new business. For example, on or

about April 4, 2022, Johnson communicated with a CCFW vendor about working with Johnson’s




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new business on a confidential basis because Johnson knew of her own restrictions in her

agreements with CCFW and that she was still working full-time for it.

                               Johnson Conspires with Co-Defendants to Steal
                               CCFW Confidential Information and Business.

         240.      And more recently, Johnson, in an attempt to further destabilize CCFW and steal

Johnson & Johnson business from CCFW, conspired with Ornelas-Kuh, in or about April of 2023,

to set up meetings with Johnson & Johnson.

         241.      Further, as noted previously, shortly after Ornelas-Kuh’s departure from CCFW, he

began to work for PVI. Johnson/PVI brazenly hired Ornelas-Kuh despite knowing full well that

he was bound by a Duty of Loyalty Agreement with CCFW to not compete or solicit CCFW clients

for one year after his separation from the Company and knowing that CCFW was already suing

Johnson and PVI for, among other things, breaches of contract, tortious interference, theft of

Confidential Information, and for having hired Bicking and Weiler despite their agreements with

CCFW.

         242.      Johnson/PVI and Ornelas-Kuh have presented Ornelas-Kuh as a Managing

Director of PVI in presentations to potential clients. However, to try to avoid linking him to PVI

publicly and avoid detection as a participant in the ongoing pattern of racketeering activities, he

has not updated his LinkedIn address since he left CCFW and, moreover, he uses a shadow PVI

email address from PVP: mornelas-kuh@projectvelocitypartners.com.

         243.      PVP is a limited liability company established in July 2023 in Delaware as part of

the scheme to avoid linking Ornelas-Kuh to PVI while positioning him to reap a piece of the

business Defendants stole and continue to try to steal from CCFW. Upon information and belief,

PVP is nothing more than a shell company and, as previously indicated, its website rolls over to

the main company website maintained by PVI.




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         244.      Plaintiff has also learned that the close relationship between Ornelas-Kuh and

Johnson created the conduit for additional theft of CCFW proprietary information as Johnson and

Ornelas-Kuh conspired to further spy on CCFW business activities, gather intelligence on clients

and budgets and deliver to Johnson critical Confidential Information regarding CCFW business

and legal proceedings.

         245.      For example, in September 2019, Ornelas-Kuh sent Johnson proprietary documents

he had fraudulently accessed without the knowledge or authorization of CCFW’s client. These

documents were stored on a client’s server. Upon receiving and reviewing them, Johnson

responded, “This is HOLY SHIT…..WOW. This is a GOLD MINE.”

         246.      In August 2021, as PEC was getting ready to launch BESREMi, Ornelas-Kuh resent

Johnson the two emails attaching a launch playbook and related sensitive documents he had sent

her in September 2019. The same day, Johnson responded “OMGGGGGGGG. This is amazing.

THANK YOU THANK YOU!!!! Thank you. JJ.” Ornelas-Kuh then responded “I got you,

gurl[sic]!! (winking emoji).”

         247.      On Sunday August 22, 2021, Johnson emailed Ornelas-Kuh again relating to those

documents and told him: “Hi Matt This is a treasure trove!!! There are some linked out documents

maybe you can grab?? Thank you. JJ” On August 23, 2021, Ornelas-Kuh responds: “Sure thing!

Can you send me the specific links?”

         248.      Had Plaintiff known about these unethical practices as early as 2019, Johnson and

Ornelas-Kuh would have been terminated immediately.

         249.      Plaintiff considered Ornelas-Kuh a trusted employee but now have clarity that he

was disloyal to CCFW for a long time, engaged in theft of Confidential Information from CCFW

and its clients, and actively participated with Johnson to steal business from CCFW that was used




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to start a new guaranteed prosperous company with PEC’s, Manning’s and the other Defendants’

assistance.

         250.      All Defendants communicated with each other and transacted the relevant acts set

forth in this Complaint over email from their respective home or business locations in multiple

states to other states as well as to Taiwan. Specifically, over the relevant period, Johnson lives in

New York and PVI is a New York company, Manning lived in Massachusetts and/or California,

Bicking lived and worked in Illinois and Florida, Weiler lived and worked in Wisconsin, Ornelas-

Kuh lived and worked from Pennsylvania and/or California, and PVP is a Delaware limited

liability company.

   After Learning that CCFW Uncovered Defendants’ Pattern of Tortious and Criminal
  Activities, PEC Cleans House and Fires High Level Executives in the US Involved in the
         Racketeering Activities and/or those Who Should Have Put a Stop to Them

         251.      After Plaintiff filed a motion in July 2023 to initially amend the complaint in this

matter and add PEC and Manning as Defendants, PEC fired Manning.

         252.      Manning was fired in or about November or December 2023.

         253.      Sulin Shah, PEC’s General Counsel, was also fired in or about November or

December 2023. Anjana Pursnani, Senior VP and Head of People for PEC, was also fired in or

about November or December 2023.

         254.      Upon information and belief, at least another five to eight high level PEC

employees were fired at about the same time.

         255.      Upon information and belief, PEC Taiwan decided to clean house at its highest

levels in the Americas and a reasonable inference is that it sought to manage risks it had learned

about in the proposed second amended Complaint previously in this action.




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                                  FIRST COUNT
               RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS
                RICO ENTERPRISE (18 U.S.C. § 1962(c) & N.J.S.A. 2C:41-2(c))
                                  (All Defendants)

         256.      Plaintiffs repeat and reallege all of the allegations in the previous paragraphs as if

same were fully set forth herein at length.

         257.      Pursuant to the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C.

Sec. 1962 (“RICO”) and N.J.S.A. 2C:41 (“NJRICO”), an “enterprise” can be a legal entity or a

group of individuals associated in fact although not a legal entity.

         258.      PVI, a corporation formed and doing business in the state of New York, is a legal

entity engaged in the provision of marketing and communications services to companies within

the healthcare industry, both domestic and international. PVI, therefore, qualifies as an “enterprise”

within the meaning of N.J.S.A. 2C:41-1(c) and 18 U.S.C. § 1961(4).

         259.      Likewise, Defendants, Crum, Rodriguez and John Does constitute a group

associated-in-fact and, therefore, also constitute an “enterprise” within the meaning of RICO and

NJRICO (hereinafter “Enterprise” refers to PVI and/or the association-in-fact enterprise),

         260.      The Enterprise has engaged in, and its activities have affected, interstate and/or

foreign commerce. By way of example, but not limitation, PVI, various individual defendants

and, upon information and belief, PVP, have provided marketing and communications services to

various pharmaceutical companies, such as PEC, located in Massachusetts with its parent company

located in Taiwan, Merz North America, Inc. (“Merz”), located in North Carolina with its parent

company, Merz Pharmaceuticals GmbH, located in Germany, and Albireo Pharma, Inc.

(“Albireo”), located in Massachusetts with its parent company, Ipsen Global, located in France.

Moreover, various members of the association-in-fact Enterprise live in different states, including

Johnson in New York, Manning in Massachusetts and California, Bicking in Illinois and Florida,




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Weiler in Wisconsin and Ornelas-Kuh in Pennsylvania and/or California, Crum located in

California and Rodriguez located in Pennsylvania. The Enterprise, therefore, engages in activities

that involve the movement or transportation or flow of goods, merchandise, money or other

property between two or more states or one or more states and a foreign country.

         261.      The Enterprise has conducted both illegitimate activities, such as those set forth

below, and has conducted some legitimate marketing and/or communications activities for clients.

The Enterprise, therefore, has an existence beyond what was necessary merely to commit the

racketeering activities.

         262.      All Defendants in this matter are or were employed by and/or otherwise associated

with the Enterprise. For example, Johnson founded the Enterprise, holds a position in, performs

services for and/or is on the payroll of the Enterprise. Similarly, Bicking, Weiler and Ornelas-Kuh

perform and/or performed certain services for the Enterprise including, but not limited to, working

with its clients, stealing CCFW’s Confidential Information on its behalf and conducting mail

and/or wire fraud, were or are on the Enterprise’s payroll and/or held or hold positions in the

Enterprise. Manning and PEC were aware of the existence and nature of the Enterprise, as

described above, and participated in, aided, abetted and/or furthered the Enterprise’s activities by,

among other things, funding and helping launch its business.

         263.      All Defendants in this matter have knowingly participated, directly and/or

indirectly, in the conduct of the Enterprise’s affairs and take or took part in, and exerted control

over, the operation or management of the Enterprise or a significant role in directing its affairs.

         264.      Johnson, Bicking, Weiler, Ornelas-Kuh, Crum, Rodriguez and John Does all hold

or held management level positions in the Enterprise and/or acted under the direction of upper

management, knowingly furthering the aims of the Enterprise by, among other things,




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implementing management decisions or carrying out the instructions of those in control and/or

they knowingly performed acts, functions or duties that were necessary to, or helpful in, the

operations of the Enterprise.

         265.      There were two (2) or more related acts of racketeering activity, with the last one

being within a ten (10) year span after the commission of the previous act including, but not limited

to:

         a.        Manning and Johnson stealing and/or otherwise misappropriating, over a number

of years and while Manning was employed at various pharmaceutical companies prior to PEC,

various confidential and/or proprietary information and/or trade secrets belonging to various

pharmaceutical companies that were used by the Enterprise to conduct its business in violation of,

inter alia, N.J.S.A. 2C:20-3(b) (criminal theft of property, which includes trade secrets, information

and data), and 18 U.S.C. 1832(a) (theft of trade secrets);

         b.        Ornelas-Kuh, Johnson, Bicking and/or Weiler conspiring to steal and stealing

CCFW’s Confidential Information starting in or about 2019 including, inter alia, its budgets,

vendor information, SOWs, and work product for which CCFW was not paid, as well as

confidential information and trade secrets belonging to various CCFW clients, and

misappropriating said information for the Enterprise’s benefit, in violation of, inter alia, those same

statutes;

         c.        Johnson, Bicking, Weiler and/or Ornelas-Kuh purposely and/or knowingly and

repeatedly accessing, obtaining, taking, using, recklessly altering, damaging and/or destroying

CCFW’s Confidential Information during the period from approximately 2019 through 2022 from

one or more computers without authorization, or in excess of authorization, in violation of N.J.S.A.

2C:20-25 (computer criminal activity);




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         d.        The Enterprise utilizing CCFW’s employees, resources, reputation and/or good will

in or about 2022 to surreptitiously perform work on behalf of the Enterprise, and to provide

services to, among others, PEC, knowing that CCFW would not be paid for same, in violation of

N.J.S.A. 2C:20-4 (theft by deception);

         e.        Obtaining or transferring CCFW’s Confidential Information and utilizing CCFW’s

employees, resources, reputation and/or good will while denying CCFW due compensation for

same, through use of the mail, in violation of, inter alia, 18 U.S.C. § 1341 (mail fraud);

         f.        Obtaining or transferring CCFW’s Confidential Information and utilizing CCFW’s

employees, resources, reputation and/or good will while denying CCFW due compensation for

same, through use of email, in violation of 18 U.S.C. § 1343 (wire fraud);

         g.        Ornelas-Kuh attempting to further harm CCFW (at or about the same time that other

racketeering activities were taking place, such as the theft of CCFW’s Confidential Information),

by stealing approximately $85,000 beginning in or about January 2022 through mail and/or wire

fraud, allegedly for reimbursement of business expenses from CCFW when, in fact, the expenses

incurred were purely personal in nature, in violation of, inter alia, 18 U.S.C. 1341 and 1343, as

well as theft by deception, in violation of N.J.S.A. 2C:20-4, by creating a false impression as to

the value of what he allegedly was owed by CCFW;

         h.        PVI, with the purpose to defraud or injure, or with knowledge that it was facilitating

a fraud or injury to be perpetrated by anyone, altered and/or changed a contract with a hotel without

authorization and/or executed it so that it purported to be the act of another who did not authorize

it, in violation of, inter alia, N.J.S.A. 2C:21-1; and




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         i.        Agreeing to commit, and committing, the above predicate offenses, and performing

overt acts in furtherance of same, in violation of 18 U.S.C. § 371 (conspiracy), and N.J.S.A. 2C:5-

2 (conspiracy).

         266.      The above-described acts were all clearly related, as they were committed for the

purpose of damaging CCFW and/or funding, launching and/or operating the Enterprise, and

involved the same victim, participants, methods of commission and results.

         267.      Defendants’ repeated racketeering activities as related to CCFW started from as far

back as September 2019 when certain Defendants were already conspiring to steal and stealing

CCFW’s Confidential Information to unfairly compete with and go after CCFW’s biggest clients

and vendors (and earlier as it related to the theft of confidential information belonging to various

pharmaceutical companies), and has continued well into 2023 when PVI and/or PVP hired

Ornelas-Kuh and he assisted the Enterprise go after other CCFW clients, such as Jannsen and, in

fact, to the present through the use of said illegally obtained information and other wrongdoing set

forth throughout this complaint, such that there has been an extended period of time during which

a pattern of racketeering activity has occurred.

         268.      The above-described pattern of racketeering activity has included stealing CCFW’s

Confidential Information, clients and vendor relations, theft of immovable property, theft of trade

secrets, computer crimes, and theft by deception. Since they were all carried out by use of the mail

and/or electronic mail, they also constitute mail and wire fraud.

         269.      There is a clear threat of continued criminal activity because the Enterprise

continues to operate and benefit from its ill-gotten gains, with the support of officers and/or

employees who have violated their respective duties of loyalty and confidentiality; Defendants

continue to possess CCFW’s Confidential Information, including SOWs and rates; and, having




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stolen this information and obtained work from CCFW clients, and established important

relationships with various CCFW go-to vendors, through unfair competition and tortious

interference.

         270.      The aforementioned racketeering activities were clearly related to the Enterprise,

as it directly profited from same, and enabled it to immediately go from a shell company to one

having immediate revenues despite the work having been performed by Johnson, Bicking and/or

Weiler before they left CCFW. Similarly, the theft of CCFW’s Confidential Information allowed

the Enterprise to immediately, and unfairly, compete with CCFW and use that information that

otherwise would have taken them many years to develop on their own.

         271.      The racketeering acts benefitted the Enterprise, as aforesaid, as it was related to its

affairs, and was authorized by it, as it promoted and furthered the purpose of the Enterprise.

         272.      This is evidenced by Johnson’s communications with her co-conspirators when, for

example, they sent her others’ confidential information, or otherwise aided the Enterprise, and in

which she comments about her “team” or similar terminology about the Enterprise.

         273.      Accordingly, Defendants knowingly conducted or participated in the affairs of the

Enterprise through a pattern of racketeering activities in violation of RICO and NJRICO.

         274.      As a direct and proximate result thereof, CCFW has suffered, and continues to

suffer, substantial damages.

         275.      The aforesaid conduct of Defendants was willful, wanton, malicious and/or in

reckless disregard of Plaintiff’s rights.

         WHEREFORE, Plaintiff demands judgment on this First Count of the Second Amended

Complaint against Defendants jointly, severally and/or in the alternative as follows:

         A.        Punitive and/or treble damages;




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         B.        Damages;

         C.        Interest;

         D.        Reasonable attorneys’ fees;

         E.        Costs of suit;

         F.        Such further relief as this Court deems just and equitable under the circumstances.



                                 SECOND COUNT
               RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS
                RICO CONSPIRACY (18 U.S.C. § 1962(d) & N.J.S.A. 2C:41-2(d))
                                  (All Defendants)

         276.      Plaintiff repeats and realleges all of the allegations in the previous paragraphs as if

same were fully set forth herein at length.

         277.      Defendants conspired and agreed to conduct or participate in the RICO Enterprise,

as evidenced by the substantial electronic, written and oral record of their communications over

several years as well as their various covert meetings, as aforesaid.

         278.      Based on the foregoing, Defendants conspired with each other to conduct or

participate in a RICO Enterprise as alleged in Count One, supra, and such conspiracy was in

violation of RICO, 18 U.S.C. § 1962(d) and NJRICO, N.J.S.A. 2C:41-2(d).

         279.      As a direct and proximate result thereof, Plaintiff has suffered, and continues to

suffer, substantial damages.

         280.      The aforesaid conduct of Defendants was willful, wanton, malicious and/or in

reckless disregard of Plaintiff’s rights.

         WHEREFORE, Plaintiff demands judgment on this Second Count of the Second

Amended Complaint against Defendants jointly, severally and/or in the alternative as follows:

         G.        Punitive and/or treble damages;




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         H.        Damages;

         I.        Interest;

         J.        Reasonable attorneys’ fees;

         K.        Costs of suit;

         L.        Such further relief as this Court deems just and equitable under the circumstances.




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                               THIRD COUNT
      N.J. TRADE SECRETS ACT AND FEDERAL DEFEND TRADE SECRETS ACT
                               (All Defendants)

         281.      Plaintiff repeats and realleges all of the previous allegations as if same were fully

set forth herein at length.

         282.      CCFW’s confidential and proprietary information constitute “trade secrets” under

the New Jersey Trade Secrets Act (“NJTSA”) and the Defend Trade Secrets Act (“DTSA”).

         283.      Defendants acquired, misappropriated, used and/or stole CCFW’s trade secrets

including, but not necessarily limited to, the documents and information described hereinabove as

well as budgets, vendor lists, SOWs and work product performed for CCFW clients, by improper

means as described herein; disclosed and/or used CCFW’s trade secrets without CCFW’s express

or implied consent; at the time of disclosure or use, knew or had reason to know that the trade

secrets were derived or acquired through improper means; and otherwise converted said trade

secrets for their economic benefit.

         284.      CCFW had taken reasonable steps to keep the information secret including, but not

necessarily limited to, making said information available only to those with a need to know said

information for CCFW’s business, by requiring employees and consultants to sign confidentiality

agreements and the like, and by requiring non-competition agreements so that said information

would not be disclosed to competitors.

         285.      As a direct and proximate result thereof, CCFW has suffered substantial damages.

         286.      The aforesaid actions of Defendants were willful, wanton, malicious and/or in

reckless disregard of CCFW’s rights and Defendants should be ordered to disgorge their ill-gotten

gains.




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WHEREFORE, Plaintiff demands judgment on this the Third Count of the Second Amended

Complaint against Defendants, jointly, severally and/or in the alternative, as follows:

    A. Punitive damages;

    B. Exemplary (double) damages;

    C. Damages;

    D. Disgorgement based upon Defendants’ unjust enrichment;

    E. Interest;

    F. Reasonable attorneys’ fees;

    G. Costs of suit; and

    H. Such further relief as this Court deems just and equitable under the circumstances.



                                 FOURTH COUNT
                  NEW JERSEY COMPUTER RELATED OFFENSES ACT AND
                     FEDERAL COMPUTER FRAUD AND ABUSE ACT
                                  (All Defendants)

         287.      Plaintiff repeats and realleges all of the previous allegations as if same were fully

set forth herein at length.

         288.      CCFW’s confidential and proprietary information and trade secrets maintained on

its computers and computer system constitute “data” within the meaning of the New Jersey

Computer Related Offenses Act (the “NJCROA”) and the federal Computer Fraud and Abuse Act

(“CFAA”).

         289.      By conspiring to destroy and/or take, and thereafter accessing, taking, altering,

damaging, and destroying, purposefully and knowingly, directly or indirectly, without

authorization, as aforesaid, and retaining said information from CCFW’s computer and computer

system, Defendants have violated, inter alia, the NJCROA and the CFAA.




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         290.      Each of the Defendants, through their purposeful, knowing and substantial

involvement in the activities constituting or resulting from taking of data or altering, damaging

and/or destroying it from, or accessing, CCFW’s computers and computer system, was an “actor”

within the meaning of and is subject to personal liability to Plaintiff under these statutes.

         291.      As a direct and proximate result thereof, CCFW has been damaged and is entitled

to damages, costs and other relief provided by said statutes.

         292.      The aforesaid conduct of Defendants was willful, wanton, malicious and/or in

reckless disregard of CCFW’s rights.

WHEREFORE, Plaintiff demands judgment on this the Fourth Count of the Second Amended

Complaint against Defendants, jointly, severally and/or in the alternative, as follows:

    A. Punitive damages;

    B. Damages;

    C. Interest;

    D. Reasonable attorneys’ fees;

    E. Costs of suit; and

    F. Such further relief as this Court deems just and equitable under the circumstances.


                                         FIFTH COUNT
                                  BREACHES OF CONTRACT
                            (Johnson, Weiler, Bicking and Ornelas-Kuh)

         293.      Plaintiff repeats and realleges all of the statements made in each of the preceding

paragraphs of the Second Amended Complaint as if same were fully set forth at length herein.

         294.      As set forth above, Johnson’s 2003 Non-Compete Agreement and 2003

Confidentiality Agreement, Johnson’s March 2022 Consulting Agreement, and Johnson’s March




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2022 Confidentiality Agreement constitute valid and enforceable contracts between Plaintiff and

Johnson.

         295.      Johnson intentionally breached the aforementioned agreements as set forth above

and herein and, in breach of the Consulting Agreement, failed to inform the Company that she was

engaging in work during the Consulting period that was a conflict of interest with the work she

was performing for the Company.

         296.      Johnson also breached her agreement with CCFW by failing to reimburse it for up-

front monthly payments it made for her COBRA coverage. Despite repeated requests, Johnson

has failed to reimburse CCFW for the monthly premiums since January 2023 and owes CCFW

$7,331.22.

         297.      Weiler’s Loyalty Agreement and Weiler’s Confidentiality Agreement constitute

valid and enforceable contracts between Plaintiff and Weiler.

         298.      On or about November 27, 2020, Weiler signed a Duty of Loyalty Agreement with

CC Ford Group and all owned, subsidiary and affiliated companies including, but not limited, to

CCFW, Index Medical Communications, LLC, and Decile Ten, LLC (“Weiler’s Loyalty

Agreement”).

         299.      Weiler’s Loyalty Agreement was effective as of December 2, 2020.

         300.      Pursuant to Section 2 of Weiler’s Loyalty Agreement, Weiler agreed to keep

confidential all Confidential Information (defined therein) of the Company for a period of one (1)

year subsequent to her employment’s termination.

         301.      Specifically, Section 2 provides:

                Section 2. Executive will keep confidential all Confidential Information
                and will not without the prior written consent of the Board of Directors
                of Company:




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                (i) “use for [her] benefit or disclose at any time during his
                employment by Company, or thereafter, except to the extent required by
                the performance by [her] of [her] duties as an employee of Company,
                any Confidential Information obtained or developed by [her] while in
                the employ of Company, or”

                (ii) “take any Confidential Information with [her] upon leaving the
                employ of the Company.”

         302.      Pursuant to Section 3 of Weiler’s Loyalty Agreement, Weiler agreed to not interfere

with the Company’s business relationships, directly or indirectly, for a period of one (1) year

subsequent to her employment’s termination.

         303.      Specifically, Section 3 provides:

                3. Non-Interference with Business Relationships. During the Restricted
                Period, Executive will not directly or indirectly, either as principal,
                manager, agent, consultant, officer, director, stockholder, partner,
                investor, lender, member or employee or in any other capacity:

                a) make any statements or perform any acts intended to advance,
                reasonably likely to advance or having the effect of advancing, an
                interest of any Competitor in any way that will or may injure an interest
                of Company or any of its Affiliates in its relationship and dealings with
                its grantors, sponsors, customers, clients or suppliers;

                b) discuss with any clients, grantors, sponsors, customers, or suppliers
                of Company or any of its Affiliates the present or future availability of any
                services or products of any business that are competitive with services or
                products which Company or any of its Affiliates provides;

                c) make any statements or do any acts intended to cause, reasonably
                likely to cause or having the effect of causing, any clients, grantors,
                sponsors, customers, or suppliers of Company or any of its Affiliates to
                make use of the services or purchase the products of any business in
                which Executive has or expects to acquire any interest, is or expects to
                become an employee, officer or director, or has received or expects to
                receive any remuneration, if such services or products in any way
                compete with the services or products sold or provided by Company or
                any of its Affiliates to any grantor, sponsor, customer, client or supplier
                (and for purposes of the foregoing, Executive shall be deemed to expect
                to acquire an interest in a business or to be made an officer or director of
                such business if such possibility has been discussed with any officer,
                director, employee, agent, or promoter of such business); or




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                d) engage in any business with, own any interest in, perform any
                services for, participate in or be connected with the business of a
                Competitor; provided, however, that the provisions of this Section 3(d)
                shall not be deemed to prohibit Executive’s ownership of not more than
                one percent (1%) of the total outstanding equity of any publicly held
                company.

         304.      Pursuant to Section 4 of Weiler’s Loyalty Agreement, Weiler agreed to be

prohibited from soliciting the Company’s clients for a period of one (1) year subsequent to her

employment’s termination.

         305.      Specifically, Section 4 provides:

                4. Non-Solicitation. During the Restricted Period, Executive will not,
                directly or indirectly, either as principal, manager, agent, consultant,
                officer, director, stockholder, partner, investor, lender or employee or
                in any other capacity:
                a) “employ, solicit for employment, or advise or recommend to any
                other person that they employ or solicit for employment, any employee
                of Company or any of its Affiliates or retain or attempt to retain the
                services of any independent Employees who provide independent
                Employee services to Company or any Affiliate on an exclusive or
                substantially full-time basis; or”

                b) “solicit or encourage any employee of Company or any of its
                Affiliates to leave the employ of Company or such Affiliate, to do any act
                that is disloyal to Company or any of its Affiliates, is inconsistent with
                the interests of Company or any of its Affiliates or violates any provision
                of this Agreement or any agreement such employee has with Company or
                any Affiliate, or to do any of the foregoing with respect to any such
                independent Employees for Company or any Affiliate.”

         306.      Pursuant to Section 1(d) of Weiler’s Loyalty Agreement, Weiler agreed to be bound

by the restrictive covenants, and all provisions contained within Weiler’s Loyalty Agreement, for

a period of twelve (12) months after the termination of her employment.

         307.      Weiler’s employment with the Company terminated as of May 25, 2022. Thus,

her obligations under Weiler’s Loyalty Agreement extended until at least May 24, 2023.




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         308.      On or about November 27, 2020, Weiler signed a Confidentiality Agreement with

CC Ford Group and all owned, subsidiary and affiliated companies including, but not limited to,

CC Ford Group, the Company, Index Medical Communications, LLC, and Decile Ten, LLC

(“Weiler’s Confidentiality Agreement”).

         309.      Weiler’s Confidentiality Agreement was effective as of December 2, 2020.

         310.      Pursuant to Weiler’s Confidentiality Agreement, Weiler agreed to not “either

directly or indirectly, use Information” (as defined therein) for a non-Company purpose.

         311.      Pursuant to Section 1 of Weiler’s Confidentiality Agreement, Weiler agreed to be

bound by these restrictive covenants, and all provisions, contained within Weiler’s Confidentiality

Agreement, for a period of ten (10) years after the agreement’s Effective Date.

         312.      The Effective Date of Weiler’s Confidentiality Agreement was December 2, 2020.

Thus, her obligations under Weiler’s Confidentiality Agreement extend until at least December 1,

2030.

         313.      During the course of Weiler’s employment with the Company, by virtue of her

employment as an executive (specifically, Project Manager), Weiler had access to the Company’s

customer information and goodwill, existing business, equipment, confidential and proprietary

information, and trade secrets, to use solely for the benefit of the Company.

         314.      By virtue of her executive position at the Company, Weiler had the ability to access

files containing virtually all of the Company’s most sensitive documents containing its

competitively sensitive and confidential information, including critical employee and client

information.

         315.      On or about May 18, 2022, Weiler informed the Company of her intention to resign.




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         316.      Weiler’s final day with the Company in her role as the Company’s Project Manager

was May 25, 2022.

         317.      Weiler intentionally breached the aforementioned agreements as set forth above

and herein.

         318.      Bicking’s Loyalty Agreement and Confidentiality Agreement constitute valid and

enforceable contracts between Plaintiff and Bicking.

         319.      Bicking’s Loyalty Agreement was effective as of February 19, 2019.

         320.      Pursuant to Section 2 of Bicking’s Loyalty Agreement, Bicking agreed to keep

confidential all Confidential Information of the Company (as defined therein) for a period of one

(1) year subsequent to her employment’s termination.

         321.      Specifically, Section 2 of Bicking’s Loyalty Agreement provides:

                Section 2. Executive will keep confidential all Confidential Information
                and will not without the prior written consent of the Board of Directors
                of Company:
                (i) “use for his benefit or disclose at any time during his employment
                by Company, or thereafter, except to the extent required by the
                performance by him of his duties as an employee of Company, any
                Confidential Information obtained or developed by him while in the
                employ of Company, or”

                (ii) “take any Confidential Information with him upon leaving the
                employ of the Company.”

         322.      Pursuant to Section 3 of Bicking’s Loyalty Agreement, Bicking agreed to not

interfere with the Company’s business relationships, directly or indirectly, for a period of one (1)

year subsequent to her employment’s termination.

         323.      Specifically, Section 3 of Bicking’s Loyalty Agreement provides:

                3. Non-Interference with Business Relationships. During the Restricted
                Period, Executive will not directly or indirectly, either as principal,




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                manager, agent, consultant, officer, director, stockholder, partner,
                investor, lender, member or employee or in any other capacity:

                a) make any statements or perform any acts intended to advance,
                reasonably likely to advance or having the effect of advancing, an
                interest of any Competitor in any way that will or may injure an interest
                of Company or any of its Affiliates in its relationship and dealings with
                its grantors, sponsors, customers, clients or suppliers;

                b) discuss with any clients, grantors, sponsors, customers, or
                suppliers of Company or any of its Affiliates the present or future
                availability of any services or products of any business that are
                competitive with services or products which Company or any of its
                Affiliates provides;
                c) make any statements or do any acts intended to cause, reasonably
                likely to cause or having the effect of causing, any clients, grantors,
                sponsors, customers, or suppliers of Company or any of its Affiliates to
                make use of the services or purchase the products of any business in
                which Executive has or expects to acquire any interest, is or expects to
                become an employee, officer or director, or has received or expects to
                receive any remuneration, if such services or products in any way
                compete with the services or products sold or provided by Company or
                any of its Affiliates to any grantor, sponsor, customer, client or supplier
                (and for purposes of the foregoing, Executive shall be deemed to expect
                to acquire an interest in a business or to be made an officer or director
                of such business if such possibility has been discussed with any officer,
                director, employee, agent, or promoter of such business); or

                d) engage in any business with, own any interest in, perform any
                services for, participate in or be connected with the business of a
                Competitor; provided, however, that the provisions of this Section 3(d)
                shall not be deemed to prohibit Executive’s ownership of not more than
                one percent (1%) of the total outstanding equity of any publicly held
                company.

         324.      Pursuant to Section 4 of Bicking’s Loyalty Agreement, Bicking agreed to be

prohibited from soliciting the Company’s clients for a period of one (1) year subsequent to her

employment’s termination.

         325.      Specifically, Section 4 of Bicking’s Loyalty Agreement provides:

                4. Non-Solicitation. During the Restricted Period, Executive will not,
                directly or indirectly, either as principal, manager, agent, consultant,




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                officer, director, stockholder, partner, investor, lender or employee or in
                any other capacity:
                a) “employ, solicit for employment, or advise or recommend to any
                other person that they employ or solicit for employment, any employee of
                Company or any of its Affiliates or retain or attempt to retain the services
                of any independent Employees who provide independent Employee
                services to Company or any Affiliate on an exclusive or substantially full-
                time basis; or”
                b) “solicit or encourage any employee of Company or any of its
                Affiliates to leave the employ of Company or such Affiliate, to do any act
                that is disloyal to Company or any of its Affiliates, is inconsistent with the
                interests of Company or any of its Affiliates or violates any provision of
                this Agreement or any agreement such employee has with Company or any
                Affiliate, or to do any of the foregoing with respect to any such
                independent Employees for Company or any Affiliate.”

         326.      Pursuant to Section 1(d) of Bicking’s Loyalty Agreement, Bicking agreed to be

bound by the restrictive covenants, and all provisions contained within Bicking’s Loyalty

Agreement, for a period of twelve (12) months after the termination of her employment.

         327.      Bicking’s employment with the Company terminated as of May 20, 2022. Thus,

her obligations under Bicking’s Loyalty Agreement extended until at least May 20, 2023.

         328.      On or about February 19, 2019, Bicking signed a Confidentiality Agreement with

CC Ford and all owned, subsidiary and affiliated companies including, but not limited to, CC Ford,

CC Ford Group North, LLC, and Decile Ten, LLC (“Bicking’s Confidentiality Agreement”).

         329.      Bicking’s Confidentiality Agreement was effective as of February 19, 2019.

         330.      Pursuant to Bicking’s Confidentiality Agreement, Bicking agreed to not “either

directly or indirectly, use Information” for a non-Company purpose.

         331.      Pursuant to Section 1 of Bicking’s Confidentiality Agreement, Bicking agreed to

be bound by the restrictive covenants, and all provisions, contained within Bicking’s

Confidentiality Agreement, for a period of ten (10) years after the agreement’s effective date.




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          332.     The effective date of Bicking’s Confidentiality Agreement was February 19, 2019.

Thus, her obligations under Bicking’s Confidentiality Agreement extend until February 18, 2029.

          333.     During the course of Bicking’s employment with the Company, by virtue of her

employment as an executive (specifically, Senior Director of Client Services), Bicking had access to

the Company’s client information and goodwill, existing business, equipment, confidential and

proprietary information, and trade secrets, to use solely for the benefit of the Company.

          334.     By virtue of her executive position at the Company, Bicking had the ability to

access files containing virtually all of the Company’s most sensitive documents containing its

competitively sensitive and confidential information, including critical employee and client

information.

          335.     On or about May 13, 2022, Bicking informed the Company of her intention to

resign.

          336.     Bicking’s final day with the Company in her role as Senior Director of Client

Services was May 20, 2022.

          337.     Bicking intentionally breached the aforementioned agreements as set forth above

and herein.

          338.     Ornelas-Kuh entered into a loyalty agreement (the “Ornelas-Kuh Loyalty

Agreement”) and a confidentially agreement with CCF and all owned and affiliated companies

and they constitute valid and enforceable contracts between Plaintiff and Ornelas-Kuh.

          339.     The Ornelas-Kuh Loyalty Agreement was effective as of April 25, 2020.

          340.     Pursuant to Section 2 of the Ornelas-Kuh Loyalty Agreement, Ornelas-Kuh agreed

to keep confidential all Confidential Information of the Company (as defined therein) for a period

of one (1) year subsequent to her employment’s termination.




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         341.      Specifically, Section 2 of the Ornelas-Kuh Loyalty Agreement provides:

                Section 2. (b) Executive will keep confidential all Confidential
                Information and will not without the prior written consent of the Board
                of Directors of Company:
                        i. “use for his benefit or disclose at any time during his
                            employment by Company, or thereafter, except to the extent
                            required by the performance by him of his duties as an
                            employee of Company, any Confidential Information
                            obtained or developed by him while in the employ of
                            Company, or”
                       ii. “take any Confidential Information with him upon leaving the
                            employ of the Company.”

         342.      Pursuant to Section 3 of the Ornelas-Kuh Loyalty Agreement, Ornelas-Kuh

agreed, inter alia, not to interfere with the Company’s business relationships, directly or indirectly,

for a period of one (1) year subsequent to her employment’s termination.

         343.      Specifically, Section 3 of the Ornelas-Kuh Loyalty Agreement provides:

                   3. Non-Interference with Business Relationships. During the
                   Restricted Period, Executive will not directly or indirectly, either as
                   principal, manager, agent, consultant, officer, director, stockholder,
                   partner, investor, lender, member or employee or in any other
                   capacity:

                   a)      make any statements or perform any acts intended to
                   advance, reasonably likely to advance or having the effect of
                   advancing, an interest of any Competitor in any way that will or may
                   injure an interest of Company or any of its Affiliates in its
                   relationship and dealings with its grantors, sponsors, customers,
                   clients or suppliers;

                   b)      discuss with any clients, grantors, sponsors, customers, or
                   suppliers of Company or any of its Affiliates the present or future
                   availability of any services or products of any business that are
                   competitive with services or products which Company or any of its
                   Affiliates provides;
                   c)       make any statements or do any acts intended to cause,
                   reasonably likely to cause or having the effect of causing, any
                   clients, grantors, sponsors, customers, or suppliers of Company or
                   any of its Affiliates to make use of the services or purchase the




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                   products of any business in which Executive has or expects to
                   acquire any interest, is or expects to become an employee, officer
                   or director, or has received or expects to receive any remuneration,
                   if such services or products in any way compete with the services
                   or products sold or provided by Company or any of its Affiliates to
                   any grantor, sponsor, customer, client or supplier (and for purposes
                   of the foregoing, Executive shall be deemed to expect to acquire an
                   interest in a business or to be made an officer or director of such
                   business if such possibility has been discussed with any officer,
                   director, employee, agent, or promoter of such business); or

                   d) engage in any business with, own any interest in, perform any
                   services for, participate in or be connected with the business of a
                   Competitor; provided, however, that the provisions of this Section
                   3(d) shall not be deemed to prohibit Executive’s ownership of not
                   more than one percent (1%) of the total outstanding equity of any
                   publicly held company.

         344.      Pursuant to Section 4 of the Ornelas-Kuh Loyalty Agreement, Ornelas-Kuh

agreed, inter alia, to be prohibited from soliciting the Company’s clients or for a period of one (1)

year subsequent to his employment’s termination.

         345.      Specifically, Section 4 of the Ornelas-Kuh Loyalty Agreement provides:

                4. Non-Solicitation. During the Restricted Period, Executive will not,
                directly or indirectly, either as principal, manager, agent, consultant,
                officer, director, stockholder, partner, investor, lender or employee or in
                any other capacity:
                a) “employ, solicit for employment, or advise or recommend to any
                other person that they employ or solicit for employment, any employee
                of Company or any of its Affiliates or retain or attempt to retain the
                services of any independent Employees who provide independent
                Employee services to Company or any Affiliate on an exclusive or
                substantially full-time basis; or”


                b) “solicit or encourage any employee of Company or any of its
                Affiliates to leave the employ of Company or such Affiliate, to do any
                act that is disloyal to Company or any of its Affiliates, is inconsistent
                with the interests of Company or any of its Affiliates or violates any
                provision of this Agreement or any agreement such employee has with
                Company or any Affiliate, or to do any of the foregoing with respect to
                any such independent Employees for Company or any Affiliate.”




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         346.      Pursuant to Section 1(d) of the Ornelas-Kuh Loyalty Agreement, Ornelas-Kuh

agreed to be bound by the restrictive covenants, and all provisions, contained within the Ornelas-

Kuh Loyalty Agreement, for a period of twelve (12) months after the termination of his

employment.

         347.      Ornelas-Kuh’s employment with the Company terminated as of April 27, 2023.

Thus, his obligations under the Ornelas-Kuh Loyalty Agreement extended until at least April 27,

2024.

         348.      On or about April 25, 2020, Ornelas-Kuh signed a Confidentiality Agreement with

CC Ford and all owned, subsidiary and affiliated companies including, but not limited to, CC Ford,

the Company, CC Ford Group North, LLC, and Decile Ten, LLC (the “Ornelas-Kuh

Confidentiality Agreement”).

         349.      The Ornelas-Kuh Confidentiality Agreement was effective as of April 25, 2020.

         350.      Pursuant to the Ornelas-Kuh Confidentiality Agreement, Ornelas-Kuh agreed,

inter alia, to not “either directly or indirectly, use Information” for a non-Company purpose.

         351.      Pursuant to Section 1 of the Ornelas-Kuh Confidentiality Agreement, Ornelas-Kuh

agreed to be bound by the restrictive covenants, and all provisions, contained within the Ornelas-

Kuh Confidentiality Agreement, for a period of ten (10) years after the agreement’s effective date.

         352.      The effective date of the Ornelas-Kuh Confidentiality Agreement was April 25,

2020. Thus, his obligations under the Ornelas-Kuh Confidentiality Agreement extend until April 24,

2030.

         353.      During the course of Ornelas-Kuh’s employment with the Company, by virtue of his

employment as an executive (specifically, Associate Director, Strategy and Planning, and later

Director, Client Services and VP, Client Services), Ornelas-Kuh had access to the Company’s client




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information and goodwill, existing business, equipment, confidential and proprietary information,

and trade secrets, to use solely for the benefit of the Company.

         354.      By virtue of his executive position at the Company, Ornelas-Kuh had the ability to

access files containing virtually all of the Company’s most sensitive documents containing its

competitively sensitive and Confidential Information, including critical employee and client

information.

         355.      For example, on February 27, 2022, the day before Johnson resigned from CCFW,

and two days after Ornelas-Kuh forwarded his Duty of Loyalty to Johnson, he was sending Johnson

confidential finance numbers regarding Janssen’s ongoing and pending work. This is especially

concerning given his previous attempt in 2020 to actively steal all of CCFW active projects by

falsely presenting to the Janssen finance vendor that CCFW was changing its name and EIN.

         356.      On March 18, 2022, Ornelas-Kuh sent Johnson a proprietary CC Ford marketing

presentation to Eyepoint, which Studdiford had recently sent him, as well as extensive additional

information on upcoming Janssen work. That day Ornelas-Kuh was also helping Johnson script

her departure emails. In response to one of the draft departure emails Ornelas-Kuh sent her,

Johnson responded, “Makes me smile and feel appreciated. We make a pretty AMAZING team.”

         357.      Ornelas-Kuh engaged in fraudulent expense reporting to a major CCFW client and

jeopardized a key client relationship for his own benefit.

         358.      Ornelas-Kuh’s final day with the Company in his role as Senior Director of Client

Services was April 25, 2023.

         359.      Ornelas-Kuh also entered into an Employee Confidentiality and Proprietary Rights

Agreement with CCFW on May 20, 2022 (the “2022 Ornelas-Kuh Confidentiality

Agreement”).




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         360.      The 2022 Ornelas-Kuh Confidentiality Agreement provides in relevant part, that:

             The Employee further understands and acknowledges that this Confidential
              Information and the Employer’s ability to reserve it for the exclusive knowledge
              and use of the Employer is of great competitive importance and commercial
              value to the Employer, and that improper use or disclosure of the Confidential
              Information by the Employee will cause irreparable harm to the Employer, for
              which remedies at law will not be adequate and may also cause the Employer
              to incur financial costs, loss of business advantage, liability under
              confidentiality agreements with third parties, civil damages, and criminal
              penalties.

             to treat all Confidential Information as strictly confidential;

             not to directly or indirectly disclose, publish, communicate, or make available
              Confidential Information, or allow it to be disclosed, published, communicated,
              or made available, in whole or part, to any entity or person whatsoever
              (including other employees of the Employer) not having a need to know and
              authority to know and to use the Confidential Information in connection with
              the business of the Employer and, in any event, not to anyone outside of the
              direct employ of the Employer except as required in the performance of any of
              the Employee’s authorized employment duties to the Employer and only with
              the prior consent of an authorized officer acting on behalf of the Employer in
              each instance (and then, such disclosure shall be made only within the limits
              and to the extent of such duties or consent); and

             not to access or use any Confidential Information, and not to copy any
              documents, records, files, media, or other resources, containing any
              Confidential Information, or remove any such documents, records, files, media,
              or other resources from the premises or control of the Employer, except as
              required in the performance of any of the Employee’s authorized employment
              duties to the Employer and with the prior consent of an authorized officer acting
              on behalf of the Employer in each instance (and then, only within the limits and
              to the extent of such duties or consent). The Employee understands and
              acknowledges that the Employee’s obligations under this Agreement regarding
              any particular Confidential Information begin immediately and shall continue
              during and after the Employee’s employment by the Employer until the
              Confidential Information has become public knowledge other than as a result
              of the Employee’s breach of this Agreement or a breach by those acting in
              concert with the Employee or on the Employee’s behalf.

         Duration of Confidentiality Obligations.

             The Employee understands and acknowledges that Employee’s obligations
              under this Agreement with regard to any particular Confidential Information
              shall commence immediately upon the Employee first having access to such
              Confidential Information (whether before or after employee begins




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               employment by the Employer) and shall continue during and after Employee’s
               employment by the Employer until such time as such Confidential Information
               has become public knowledge other than as a result of the Employee’s breach
               of this Agreement or breach by those acting in concert with the Employee or on
               the Employee’s behalf.

         361.      Ornelas-Kuh intentionally breached the aforementioned agreements as set forth

above and herein.

         362.      Johnson, Weiler, Bicking and Ornelas-Kuh were or are stealing CCFW’s

customers, interfering with its relationships with vendors and suppliers, and exploiting CCFW’s

substantial investments in customer cultivation, market testing and promotion.

         363.      As a direct and proximate result of Johnson, Weiler, Bicking and Ornelas- Kuh’s

breaches, as aforesaid, they have caused Plaintiff, and will cause Plaintiff, irreparable loss of good

will, profits, revenue and business opportunities, including the loss of customers and related

business, unless they immediately are enjoined and restrained, and said Defendants also have

caused Plaintiff other substantial damage.

          WHEREFORE, Plaintiff demands judgment on this Fifth Count of the Second Amended

Complaint against Johnson, Weiler, Bicking and Ornelas-Kuh, jointly, severally and/or in the

alternative, as follows:

         (a)       Enjoining and restraining Johnson from, directly or indirectly, breaching or

otherwise violating Johnson’s Non-Compete Agreement, Johnson’s Consulting Agreement,

and Johnson’s March 2022 Confidentiality Agreement;

         (b)       Enjoining and restraining Weiler from, directly or indirectly, breaching or

otherwise violating Weiler’s Loyalty Agreement and Weiler’s Confidentiality Agreement;

         (c)       Enjoining and restraining Bicking from, directly or indirectly, breaching or

otherwise violating Bicking’s Loyalty Agreement and Bicking’s Confidentiality Agreement;




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         (d)       Enjoining and restraining Ornelas-Kuh from, directly or indirectly, breaching or

otherwise violating the Ornelas-Kuh Duty of Loyalty Agreement, the Ornelas-Kuh

Confidentiality Agreement and the Ornelas-Kuh Employee Confidentiality Agreement with

Plaintiff;

         (e)       Enjoining and restraining Defendants from, directly or indirectly, performing any

services for Albireo, PEC and/or any other Company clients who conducted business with the

Company during the one-year period prior to the Individual Defendants’ termination from the

Company or with whom the Company had substantial contact during said period;

         (f)       Enjoining and restraining Defendants, directly or indirectly, from soliciting for hire

any Company employees;

         (g)       Requiring Defendants not to share, and to return and/or destroy, and if destroyed,

certify thereto, any Confidential Information of the Company and/or of any of the Company’s

clients and not to retain any copies or excerpts thereof;

         (h)       Damages;

         (i)       Disgorgement compelling Johnson, Weiler, Bicking and Ornelas-Kuh to reimburse

Plaintiff for all wages and other compensation paid by Plaintiff during the period of Johnson’s,

Weiler’s, Bicking’s and/or Ornelas-Kuh’s respective disloyalty;

         (j)       Reasonable Attorneys’ fees;

         (k)       Interest;

         (l)       Costs of suit; and

         (m)       Such other legal and equitable relief as the Court may deem just and proper.




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                                       SIXTH COUNT
                                 BREACHES OF FIDUCIARY DUTY
                                          (Johnson)


         364.      Plaintiff repeats and realleges all of the statements made in each of the preceding

paragraphs of the Second Amended Complaint as if same were set forth at length herein.

         365.      Johnson, as the Company’s Managing Director, owed certain fiduciary duties to,

among others, the Company.


         366.      As a fiduciary, Johnson owed Plaintiff the utmost duties of loyalty, honesty and

care.

         367.      Johnson violated the duties owed to Plaintiff by engaging in the wrongful conduct

described herein.

         368.      Johnson breached her fiduciary duties to Plaintiff by, inter alia, soliciting Plaintiff’s

customers and diverting their business from the Company on specific jobs for which those

customers sought originally to engage the Company, while Johnson was still employed by and/or

consulting for the Company.

         369.      Johnson also breached those fiduciary duties by, inter alia, using the Company’s

confidential and proprietary information and trade secrets, obtained in the course and scope of

Johnson’s employment and/or consulting arrangement with Plaintiff, to solicit the Company’s

customers to work with Johnson.

         370.      As a direct and proximate cause of Johnson’s breaches of her fiduciary duties,

Plaintiff has suffered, and continues to suffer, irreparable harm and significant economic loss.

         371.      Furthermore, Johnson’s breaches of her fiduciary duties were willful, wanton,

malicious and/or in reckless disregard of CCFW’s rights.




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          372.     Moreover, Plaintiff is entitled to the remedy of equitable disgorgement directing

that all sums paid to Johnson starting from the period she first violated her duty of loyalty be

repaid.

          WHEREFORE, Plaintiff demands judgment against Johnson on this Sixth Count of the

Second Amended Complaint, as follows:

          (a)      Enjoining and restraining Johnson, directly or indirectly, from breaching or

otherwise violating Johnson’s Non-Compete Agreement, Johnson’s Consulting Agreement, and

Johnson’s March 2022 Confidentiality Agreement;

          (b)      Enjoining and restraining Johnson, directly or indirectly, from doing business with

Albireo, PEC and all other clients of the Company who conducted business with the Company

during the one-year period prior to the Individual Defendants’ termination from the Company or

with whom the Company had substantial contact during the said one year period;

          (c)      Enjoining and restraining Johnson from soliciting any Company employee for

hire;

          (d)      Requiring Defendants not to share, and to return and/or destroy, and if destroyed,

certify thereto, any confidential information of the Company and any of the Company’s clients

and not retain copies or excerpts thereof;

          (e)      Punitive damages;

          (f)      Damages;

          (g)      Equitable disgorgement compelling Johnson to reimburse Plaintiff for all wages

and other compensation paid by Plaintiff to her starting with the time Johnson was first disloyal

to CCFW;

          (h)      Reasonable Attorneys’ fees;




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         (i)       Interest;

         (j)       Costs of suit; and

         (k)       Such other legal and equitable relief as the Court may deem just and proper.


                                      SEVENTH COUNT
                     BREACHES OF DUTY OF UNDIVIDED LOYALTY
                AND VIOLATIONS OF THE FAITHLESS SERVANT DOCTRINE
                  (Johnson, Weiler, Bicking, Ornelas-Kuh and John Does 1-10)


         373.      Plaintiff repeats and realleges all of the statements made in each of the preceding

paragraphs of the Second Amended Complaint as if same were fully set forth herein at length.

         374.      Johnson, Weiler, Bicking, Ornelas-Kuh and John Does 1-10, who were employees

of the Company whose identities the Company is currently unaware of, owed Plaintiff, among

other things, a common law duty of undivided loyalty.

         375.      Johnson, Weiler, Bicking, Ornelas-Kuh and John Does 1-10 willfully and

repeatedly breached said duty to Plaintiff.

         376.      Based upon said conduct, Johnson, Weiler, Bicking, Ornelas-Kuh and John Does 1-

10 also were faithless servants of Plaintiff and should be compelled to disgorge all of the

compensation paid them by Plaintiff during the period of disloyalty.

         377.      As a direct and proximate result of said breaches of undivided loyalty and said

conduct as faithless servants, Plaintiff has suffered irreparable harm and other damage.

         378.      The aforesaid conduct of Johnson, Weiler, Bicking, Ornelas-Kuh and John Does 1-

10 was willful, wanton, malicious and/or in reckless disregard of Plaintiff’s rights.

         WHEREFORE, Plaintiff demands judgment on this Seventh Count of the Second

Amended Complaint against Johnson, Weiler, , Ornelas-Kuh, Bicking and John Does 1-10, jointly,

severally and/or in the alternative, as follows:




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         (a)       Enjoining and restraining said Defendants from breaching their various agreements

 with Plaintiff;

         (b)       Enjoining and restraining Defendants, directly or indirectly, from doing business

 with Albireo, PEC and any other clients of the Company who conducted business with the

 Company during the one-year period prior to the termination of the individual Defendants’

 relationships with the Company or with whom the Company had substantial contact during said

 one-year period;

         (c)       Requiring Defendants not to share, and to return or destroy, and if destroyed, certify

 thereto, any confidential information of the Company or any of Company’s clients and not to

 retain any copies or excerpts thereof;

         (d)       Punitive damages;

         (e)       Damages;

         (f)       Equitable disgorgement compelling said Defendants to reimburse Plaintiff for all

 wages and other compensation received during the period of their disloyalty;

         (g)       Reasonable attorneys’ fees;

         (h)       Interest;

         (i)       Costs of suit; and

         (j)       Such further relief as this Court deems just and equitable under the circumstances.



                                     EIGHTH COUNT
                        TORTIOUS INTERFERENCE WITH CONTRACTS
                          AND EXISTING BUSINESS RELATIONSHIPS
                                      (All Defendants)

         379.      Plaintiff repeats and realleges the statements made in each of the preceding

paragraphs of the Second Amended Complaint as if same were set forth at length herein.



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         380.      Plaintiff maintains business and contractual relationships with its clients, and did

so, including, but not limited to, with Albireo, Merz and PEC, to provide consulting services when

requested by clients.

         381.      Plaintiff also maintains business relationships with vendors and suppliers.

         382.      Defendants were aware of those contracts and relationships and interfered with

Plaintiff’s business and contractual relationships with its clients and vendors by, inter alia, directly

and/or indirectly, soliciting the Company’s clients and vendors and diverting them from the Company

to PVI on specific jobs for which those clients sought originally to engage the Company and

otherwise, and thereby also interfered with Plaintiff’s ongoing business relationships with its clients

and vendors.

         383.      Defendants wrongfully took these actions without privilege to do so, knowing the

effect the actions would have on Plaintiff’s existing business and contractual relationships.

         384.      Johnson, Weiler, Bicking, Ornelas-Kuh, PVI and John Does 1-10 were particularly

able to interfere with the Company’s existing clients, business relations and vendors by virtue of their

employment as the Company’s Managing Director, Project Manager, Senior Director of Client

Services, and Vice President, respectively, and by continuing to indicate on their LinkedIn pages that

they remained employed by the Company.

         385.      Manning and PEC knew of, and also intentionally interfered with, Plaintiff’s

contractual relations with Johnson, Bicking, Weiler and Ornelas-Kuh, as well as with CCFW’s

contractual relations and prospective economic advantage with its clients.

         386.      Similarly, Johnson and PVI were aware of Plaintiff’s contractual relations with

Bicking and Weiler yet knowingly and intentionally interfered with those contractual relations when

hiring Bicking, Weiler and Ornelas-Kuh to work for PVI.




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         387.      Moreover, Johnson and PVI were aware of Plaintiff’s contractual relations with

Ornelas-Kuh, and were already defending this litigation and Plaintiff’s claims that they tortiously

interfered with Plaintiff’s relationship with Bicking and Weiler, when they intentionally interfered

with Plaintiff’s relationship with Ornelas-Kuh by hiring Ornelas-Kuh to work for PVI.

         388.      In the absence of Defendants’ actions and interference, Plaintiff would have had a

reasonable probability of economic gain from its employees and consultant, and from the clients

who attempted to engage, or would have engaged, the Company for its services.

         389.      As a direct and proximate cause of Defendants’ actions, as aforesaid, Plaintiff has

suffered, and continues to suffer, irreparable harm, damage to reputation, loss of good will as well

as other damages, including but not limited to, contractual damages, consequential damages and

lost profits.

         390.      John Does 1-10 are persons or entities whose identities are currently unknown but

who were aware of the contractual relationships the Company had with Johnson, Bicking, Weiler

and Ornelas-Kuh and clients and who, despite knowing of said relationships, tortiously and

intentionally interfered with same.

         391.      As a direct and proximate result of all of said conduct, the Company suffered, and

continues to suffer, substantial damages.

         392.      The aforesaid conduct of Defendants was willful, wanton, malicious and/or in

reckless disregard of the Company’s rights.

         WHEREFORE, Plaintiff demands judgment on this Eighth Count of the Second Amended

Complaint against Defendants, jointly, severally and/or in the alternative, as follows:

         (a)       Enjoining and restraining Johnson, Weiler, Bicking and Ornelas-Kuh from

breaching or otherwise violating their agreements with Plaintiff;




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         (b)       Enjoining and restraining Defendants, directly or indirectly, from doing business

with Albireo, PEC and all other clients of the Company with whom the Company conducted

business during the one-year period prior to the individual Defendants’ separations from the

Company or with whom the Company had substantial contact during the said one year period;

         (c)       Requiring Defendants not to share, and to return or destroy, any confidential

information of the Company and any of the Company’s clients and not to retain any copies or

excerpts thereof;

         (d)       Punitive damages;

         (e)       Damages;

         (f)       Disgorgement compelling Johnson, Weiler, Bicking, Ornelas-Kuh, PVI and John

Does 1-10 to reimburse Plaintiff for all wages and other compensation paid by Plaintiff during the

period of Johnson’s, Weiler’s, Bicking’s, Ornelas-Kuh’s and John Does 1-10’s disloyalty;

         (g)       Reasonable attorneys’ fees;

         (h)       Interest;

         (i)       Costs of suit; and

         (j)       Such other legal and equitable relief as the Court may deem just and proper.


                          NINTH COUNT
   TORTIOUS INTERFERENCE WITH PROSPECTIVE ECONOMIC ADVANTAGE
                          (All Defendants)

         393.      Plaintiff repeats and realleges all of the statements made in each of the preceding

paragraphs of the Second Amended Complaint as if same were fully set forth at length herein.

         394.      Plaintiff’s retention of clients to pursue future business represents a cognizable,

protectable interest.




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         395.      In the absence of Defendants’ actions and interference, as aforesaid, Plaintiff would

have had more than a reasonable probability of economic advantage from its clients and industry

contacts, including but not limited to prospective clients who attempted to engage the Company to

perform services but were diverted by Defendants.

         396.      Such clients include, but are not limited to, Albireo and PEC.

         397.      Defendants have maliciously interfered with Plaintiff’s interest in retaining and/or

obtaining clients for future business and the economic advantages associated with same, based

upon Defendants’ obstructionist measures, including intentionally utilizing the Company’s

confidential and proprietary information, goodwill, and trade secrets to lure away existing clients

with future business and prospective clients from the Company instead of securing their business

for the Company, as they should have done given their duties and those within the scope of their

consulting and/or contractual arrangements.

         398.      Defendants’ actions were taken intentionally, without justification, and with the

knowledge and expectation that Plaintiff’s rights and expectations would be adversely affected.

         399.      Defendants’ conduct, as described above, has resulted, and continues to result in,

irreparable harm and material loss to Plaintiff in terms of prospective services diverted from the

Company.

         400.      As a direct and proximate result of Defendants’ interference, Plaintiff has suffered,

and will continue to suffer, irreparable harm as well as substantial damages.

         401.      Defendants’ conduct was willful, wanton, malicious and/or in reckless disregard of

Plaintiff’s rights.

         WHEREFORE, Plaintiff demands judgment on this Ninth Count of the Second Amended

Complaint against Defendants, jointly, severally and/or in the alternative, as follows:




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         (a)       Enjoining and restraining Johnson, Weiler, Bicking and Ornelas-Kuh from

breaching or otherwise violating, directly or indirectly, the terms of their agreements with

Plaintiff;

         (b)       Enjoining and restraining Defendants, directly or indirectly, from doing business

with Albireo, PEC and all other clients who conducted business with the Company during the

one-year period prior to the separation of the individual Defendants’ relationships with the

Company or with whom the Company had substantial contact during the said one year period;

         (c)       Returning, not sharing, and destroying all confidential information of the

Company and any of the Company’s clients and to not retain copies or excerpts of same;

         (d)       Punitive damages;

         (e)       Damages;

         (f)       Disgorgement compelling Johnson, Weiler, Bicking and Ornelas-Kuh to reimburse

Plaintiff for all wages and other compensation paid by Plaintiff during the period of Johnson’s,

Weiler’s, Bicking’s and Ornelas-Kuh’s disloyalty;

         (g)       Reasonable attorneys’ fees;

         (h)       Interest;

         (i)       Costs of suit; and

         (j)       Such other legal and equitable relief as the Court may deem just and proper.




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                                              TENTH COUNT
                                           UNFAIR COMPETITION
                                              (All Defendants)

         402.      Plaintiff repeats and realleges the statements made in the preceding paragraphs of this

Second Amended Complaint as if same were fully set forth herein at length.

         403.      Among other things, Johnson, Bicking and Weiler’s use of the CCFW brand in their

LinkedIn pages, and otherwise, was a palming and/or passing off of CCFW’s good name and

reputation to make it appear that PVI, PVP, Johnson, Bicking and Weiler would be providing services

through the known entity CCFW and used that practice for their own benefit.

         404.      The stealing of CCFW’s confidential and proprietary information and trade secrets,

and PVI’s hiring of Ornelas-Kuh, also enabled Defendants to unfairly compete with Plaintiff.

         405.      The aforesaid conduct of Defendants constitutes, inter alia, unfair competition and

was otherwise wrongful.

         406.      As a direct and proximate result thereof, Plaintiff has suffered irreparable harm and

other substantial damages.

         407.      The aforesaid conduct of Defendants was willful, wanton, malicious and/or in reckless

disregard of Plaintiff’s rights.

         WHEREFORE, Plaintiff demands judgment on this Tenth Count of the Second Amended

Complaint against Defendants jointly, severally and/or in the alternative, as follows:

         (a)       Enjoining and restraining Johnson, Weiler, Bicking and Ornelas-Kuh from

breaching or otherwise violating, directly or indirectly, the terms of their agreements with

Plaintiff;

         (b)       Enjoining and restraining Defendants, directly or indirectly, from doing business

with Albireo, PEC and all other clients who conducted business with the Company during the




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one-year period prior to the separation of the Individual Defendants’ relationship with the

Company or with whom the Company had substantial contact during the said one-year period;

         (c)       Returning, not sharing, and destroying and if destroyed, certify thereto, all

confidential information of the Company and any of the Company’s clients and to not retain

copies or excerpts of same;

         (d)       Punitive damages;

         (e)       Damages;

         (f)       Disgorgement compelling Johnson, Weiler, Bicking and Ornelas-Kuh to reimburse

Plaintiff for all wages and other compensation paid by Plaintiff during the period of Johnson’s,

Weiler’s, Bicking’s and Ornelas-Kuh’s disloyalty;

         (g)       Reasonable attorneys’ fees;

         (h)       Interest;

         (i)       Costs of suit; and

         (j)       Such other legal and equitable relief as the Court may deem just and proper.


                                      ELEVENTH COUNT
                               TRESPASS TO CHATTEL/CONVERSION
                                         (All Defendants)

         408.      Plaintiff repeats and realleges the statements made in each of the preceding

paragraphs of the Second Amended Complaint as if same were set forth at length herein.

         409.      At all times relevant hereto, Plaintiff had possessory rights and/or interests in the

Company laptop, keys, and American Express credit card used by Johnson, in connection with

their employment with the Company. Plaintiff also had possessory rights and/or interests in

CCFW’s confidential and proprietary information and trade secrets.




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         410.      Johnson has deprived Plaintiff of the use and possession of said personal property

for a substantial time, converting same to their own and otherwise causing damages.

         411.      To date, Johnson, has not returned to CCFW all of said personal property despite

Plaintiff’s multiple requests for same.

         412.      Ornelas-Kuh has taken confidential documents from CCFW belonging to it and its

clients and has not returned same despite repeated requests.

         413.      Said individual Defendants’ actions described hereinabove constitute, among other

things, a trespass to chattel and conversion.

         414.      Defendants have also taken CCFW’s confidential and proprietary information and

trade secrets without permission and have deprived CCFW of same.

         415.      The aforesaid action of Defendants was willful, wanton, malicious and/or in

reckless disregard of Plaintiff’s rights.

         416.      As a direct and proximate result thereof, Plaintiff has suffered substantial damages.


          WHEREFORE, Plaintiff demands judgment on this Eleventh Count in the Second

Amended Complaint against Defendants, jointly, severally and/or in the alternative, as follows:

         (a)       Ordering Defendants to return all Company property including, but not limited to,

all Company laptops, keys, and American Express credit cards;

         (b)       Requiring Defendants not to share, and to return or destroy, and if destroyed,

certify thereto, any confidential information of the Company and any of the Company’s clients

and not to retain copies or excerpts thereof;

         (c)       Punitive damages;

         (d)       Damages;

         (e)       Reasonable attorneys’ fees;




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         (f)       Interest;

         (g)       Costs of suit; and

         (h)       Such other legal and equitable relief as the Court may deem just and proper.




                                     TWELFTH COUNT
                       THEFT OF TRADE SECRETS AND MISAPPROPRIATION
                               OF CONFIDENTIAL INFORMATION
                                       (All Defendants)

         417.      Plaintiff repeats and realleges the statements made in the preceding paragraphs as if

same were fully set forth herein at length.

         418.      The Company has developed various trade secrets and confidential and proprietary

information including such things as, but not limited to, business data compilations, methods,

techniques, designs, plans, procedures and processes that derive independent economic value for use

in its business.

         419.      The Company has taken reasonable steps to maintain the confidentiality of said trade

secrets and confidential and proprietary information including, among other things, requiring various

employees, including Johnson, Bicking, Weiler and Ornelas-Kuh, to sign agreements to protect said

information.

         420.      Johnson, Bicking, Weiler and Ornelas-Kuh had access to said information as it was

necessary to use same in relation to their job duties.

         421.      Said Defendants had no right or permission to use said information for any purpose

other than the work they performed on behalf of the Company.

         422.      Subsequent to their employment relationship ending with the Company, and without

permission or consent from the Company, the individual Defendants improperly used said




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information on behalf of themselves and/or clients for whom they were providing services including,

but not limited to, PEC.

         423.      Defendants knew that said information was confidential and that they had acquired

said information through improper means and in violation of their Agreements.

         424.      The aforesaid conduct of Defendants violates, inter alia, the common law concerning

the misappropriation of confidential and proprietary information and trade secrets.

         425.      The aforesaid conduct of Defendants was willful, wanton, malicious and/or in

reckless disregard of Plaintiff’s rights.

         426.      As a direct and proximate result thereof, Plaintiff has suffered substantial damages.

         427.      The NJTSA permits the Court to grant injunctive relief regarding the theft of trade

secrets as well as any misappropriation being threatened by Defendants.

         WHEREFORE, Plaintiff demands judgment on this Twelfth Count of the Second

Amended Complaint against Defendants, jointly, severally and/or in the alternative, as follows:

         (a)       Enjoining and restraining Johnson, Weiler, Bicking and Ornelas-Kuh from

breaching or otherwise violating, directly or indirectly, the terms of their agreements with

Plaintiff;

         (b)       Enjoining and restraining Defendants, directly or indirectly, from doing business

with Albireo, PEC and all other clients who conducted business with the Company during the

one-year period prior to the separation of the Individual Defendants’ relationships with the

Company or with whom the Company had substantial contact during the said one year period;

         (c)       Returning, not sharing and destroying all confidential information of the

Company and any of the Company’s clients and to not retain copies or excerpts of same;

         (d)       Punitive damages;




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         (e)       Damages;

         (f)       Disgorgement compelling Johnson, Weiler, Bicking and Ornelas-Kuh to reimburse

Plaintiff for all wages and other compensation paid by Plaintiff during the period of Johnson’s,

Weiler’s, Bicking’s and Ornelas-Kuh’s disloyalty;

         (g)       Reasonable attorneys’ fees;

         (h)       Interest;

         (i)       Costs of suit; and

         (j)       Such other legal and equitable relief as the Court may deem just and proper.


                                      THIRTEENTH COUNT
                                    TORTIOUS INTERFERENCE
                                      (Johnson, PVI and PVP)

         428.      Plaintiff repeats and realleges the statements made in the preceding paragraphs as if

same were fully set forth herein at length.

         429.      Johnson’s, PVI’s and PVP’s actions leading up to and/or after Johnson left the

Company involved inducing Bicking, Weiler and Ornelas-Kuh to breach their duty of undivided

loyalty to Plaintiff, to leave Plaintiff, take Plaintiff’s Confidential Information and/or to obtain

and/or work on business for clients of Plaintiff.

         430.      Johnson, PVI and/or PVP also, among other things, hired Bicking, Weiler and/or

Ornelas-Kuh to work on, or continue to work on, matters for the Company’s clients and/or former

clients in breach of, inter alia, their Loyalty and/or Confidentiality Agreements.

         431.      Johnson, PVI and/or PVP also, among other things, maliciously encouraged CCFWs

former employee Ornelas-Kuh to introduce Johnson to CCFW’s clients in violation of his Duty of

Loyalty Agreement with the Company, and then solicited and later hired him to go work for them,




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including, upon information and belief, on projects for CCFW’s former clients, also in violation of

his agreements with CCFW.

         432.      As their former supervisor, Johnson was aware of the existence and terms of those

agreements and acted in willful disregard of said agreements.

         433.      As a direct and proximate result of said tortious interference with those agreements,

Plaintiff has suffered substantial damages.

         WHEREFORE, Plaintiff demands judgment on this Thirteenth Count of the Second

Amended Complaint against Johnson, PVI and PVP, jointly, severally and/or in the alternative, as

follows:

         (a) Punitive damages;

         (b) Damages;

         (c) Reasonable attorneys’ fees;

         (d) Interest;

         (e) Costs of suit; and

         (f) Such other legal and equitable relief as the Court may deem just and proper.


                                   FOURTEENTH COUNT
                       TORTIOUS INTERFERENCE WITH CONTRACT AND
                           PROSPECTIVE ECONOMIC ADVANTAGE
                                     (PEC and Manning)

         434.      Plaintiff repeats and realleges the statements made in the preceding paragraphs as if

same were fully set forth herein at length.

         435.      Manning and PEC were aware of Johnson’s, Bicking’s, Ornelas-Kuh’s and Weiler’s

various agreements with Plaintiff.




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         436.      Nevertheless, Manning and/or PEC provided advice to Johnson concerning how she

should go about resigning from Plaintiff to perform work for PEC in violation of said agreements

and, upon information and belief, hire Bicking, Weiler and/or Ornelas-Kuh to work for PVI and/or

PVP, and how to hide from the Company their wrongful conduct, both before and after they left, in

violation of their various agreements.

         437.      In reliance upon said advice, Johnson resigned from the Company, opened PVI and,

upon information and belief, PVP, and hired Bicking, Weiler and Ornelas-Kuh notwithstanding

knowledge of their contractual obligations to the Company.

         438.      Further, Manning contacted Bicking and/or Weiler after Johnson’s departure from the

Company to provide information related to CCFW’s open projects with PEC, including Johnson on

the emails (at her PEC e-mail address) and excluding Studdiford.

         439.      Bicking and/or Weiler provided this information and continued to perform work on

PEC projects (at the direction of Johnson, Manning and/or PEC) even though she/they knew that the

work by the Company had been halted by Manning and/or PEC and that the work was being done

on Johnson’s and/or PVI’s behalf even though Bicking and Weiler were still employed by the

Company.

         440.      The work performed by Bicking and Weiler on these Projects was then converted to

PVI and/or PVP upon PVI and/or PVP being hired by PEC.

         441.      As a direct and proximate result of the aforesaid wrongful actions, PEC and Manning

tortiously interfered with Johnson’s Non-Compete Agreement, Consulting Agreement and

Confidentiality Agreement with the Company as well as with the Loyalty and Confidentiality

Agreements between Weiler and Bicking, on the one hand, and the Company on the other.




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         442.      Moreover, as a result of the wrongful conduct of PEC and Manning, Johnson,

Bicking, Weiler, Ornelas-Kuh, PVI and/or PVP were able to unfairly compete against Plaintiff and

tortiously interfered with Plaintiff’s relationships with other clients.

         443.      As a direct and proximate result thereof, Plaintiff has suffered, and continues to

suffer, substantial damages.

         444.      The aforesaid conduct of PEC and Manning was willful, wanton, malicious and/or in

reckless disregard of the Company’s rights.

         WHEREFORE, Plaintiff demands judgment on this Fourteenth Count of the Second

Amended Complaint against PEC and Manning, jointly, severally and/or in the alternative, as

follows:

         (a)      Punitive damages;

         (b)       Damages;

         (c)       Reasonable attorneys’ fees;

         (d)       Interest;

         (e)       Costs of suit; and

         (f)       Such other legal and equitable relief as the Court may deem just and proper.




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                                       FIFTEENTH COUNT
                                  MISAPPROPRIATION AND FRAUD
                                      (Ornelas-Kuh and PVP)

         445.      Plaintiff repeats and realleges the statements made in the preceding paragraphs as if

same were fully set forth herein at length.

         446.      Ornelas-Kuh stole CCFW funds through misappropriation and/or a fraudulent scheme

where he charged personal expenses to CCFW and/or CCFW clients falsely claiming they were

legitimate business expenses.

         447.      Some of the inappropriate expenses Ornelas-Kuh charged were for personal trips, his

birthday party and expensive meals not properly chargeable to either CCFW or its clients.

         448.      Ornelas-Kuh and/or PVP also misappropriated confidential CCFW information

including sales pitch presentations, budgets, and other documents.

         449.      As a direct and proximate result thereof, Plaintiff was damaged and Plaintiff had its

relationship with its customer(s) damaged.

         WHEREFORE, Plaintiff demands judgment on this Fifteenth Count of the Second

Amended Complaint against Ornelas-Kuh and PVP, jointly, severally and/or in the alternative, as

follows:

         (b)      Punitive damages;

         (b)       Damages;

         (g)       Reasonable attorneys’ fees;

         (h)       Interest;

         (i)       Costs of suit; and

         (j)       Such other legal and equitable relief as the Court may deem just and proper.




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                                        SIXTEENTH COUNT
                                 (Unjust Enrichment – All Defendants)

         450.      Plaintiff repeats and realleges all of the previous allegations as if same were fully set

forth herein at length.

         451.      Defendants received benefits from Plaintiff including, inter alia, income and COBRA

payments, access to Company documents including client and vendor lists and proprietary pricing

and marketing information, and thus were unjustly enriched.

         452.      As a direct and proximate result thereof, Plaintiff was damaged.

         WHEREFORE, Plaintiff demands judgment on this Sixteenth Count of the Second

Amended Complaint against all Defendants, jointly, severally and/or in the alternative, as follows:

         (a)      Punitive damages;

         (b)       Damages;

         (c)       Reasonable attorneys’ fees;

         (d)       Interest;

         (e)       Costs of suit; and

         (f)       Such other legal and equitable relief as the Court may deem just and proper.




                                                         MANDELBAUM BARRETT, P.C.
                                                         Attorneys for Plaintiff


                                                         By:/s/Steven I. Adler
                                                           Steven I. Adler, Esq.
July 26, 2024




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                                        JURY DEMAND
         Plaintiff hereby demands a jury on all issues so triable.


                                                        MANDELBAUM BARRETT P.C.
                                                        Attorneys for Plaintiff


                                                        By: /s/Steven I. Adler
                                                     _________________________
                                                        Steven I. Adler




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